                  Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 1 of 51 Page ID #:1



                        1 JOSHUA S. GOODMAN, ESQUIRE – State Bar #116576
                          ZACHARY S. TOLSON, ESQUIRE – State Bar #242824
                        2 GOODMAN NEUMAN HAMILTON LLP
                          One Post Street, Suite 2100
                        3 San Francisco, California 94104
                          Telephone: (415) 705-0400
                        4 Facsimile: (415) 705-0411
                        5 Attorneys for Defendant
                          HOME DEPOT U.S.A., INC.
                        6
                        7                           UNITED STATES DISTRICT COURT
                        8              CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
                        9 LIMA STULTING,                                 Case No.
                       10                                 Plaintiff,     NOTICE OF REMOVAL OF ACTION
                                                                         UNDER 28 U.S.C. §§ 1441 AND 1446(b)
                       11 vs.                                            BASED ON DIVERSITY OF
                                                                         CITIZENSHIP UNDER 28 U.S.C. § 1332
                       12 HOME DEPOT U.S.A., INC., et al.                JURY TRIAL DEMANDED
                       13                              Defendants.
                       14
                       15         TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                       16         PLEASE TAKE NOTICE that Defendant HOME DEPOT U.S.A., INC.
                       17 (hereinafter “HOME DEPOT”), by and through its counsel, hereby remove the above-
                       18 captioned action from the Superior Court of the State of California, in and for the County
                       19 of Los Angeles, to the United States District Court, Central District of California, Eastern
                       20 Division for the reasons described below:
                       21         1.     HOME DEPOT is the sole named Defendant in a civil action pending
                       22 against it in the Los Angeles County Superior Court, entitled Lima Stulting vs. Home
                       23 Depot U.S.A., Inc., et al., Case No. 21STCV47408. HOME DEPOT e.
                       24         2.     Attached hereto as Exhibit A is a true and correct copy of the Complaint.
                       25         3.     Venue is proper in this Court because the boundaries of the United States
 Goodman
  Neuman               26 District Court for the Central District of California, pursuant to 28 U.S.C. § 84(b) include
Hamilton LLP
    One Post St.
      Suite 2100
San Francisco, CA
                       27 San Bernardino County where Plaintiff resides and where the incident occurred (See
        94104
Tel.: (415) 705-0400
                       28 Exhibit B – demonstrating Plaintiff’s residency in Chino, CA, and Exhibit A – Second
                                                                    -1-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1441 AND 1446(b) BASED ON DIVERSITY OF
                                                     CITIZENSHIP UNDER 28 U.S.C. § 1332
                  Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 2 of 51 Page ID #:2



                        1 Cause of Action listing Chino, CA as the location of the incident. Chino is located in San
                        2 Bernardino County.
                        3         4.     Following the filing of this Notice of Removal of Action, written notice of
                        4 this filing will be served on counsel for Plaintiff and will be filed with the Clerk of the
                        5 Superior Court of California for the County of Los Angeles, in accordance with 28
                        6 U.S.C. § 1446(d).
                        7                                       JURISDICTION
                        8         5.     This is a civil action over which this Court has original jurisdiction under
                        9 28 U.S.C. § 1332. This case may be removed to this Court by HOME DEPOT pursuant to
                       10 the provisions of 28 U.S.C. §§ 1441(b) and 1446 in that it is a case that could have been
                       11 commenced in federal court based on diversity of citizenship.
                       12         6.     Diversity jurisdiction applies for the following reasons:
                       13                a.      At all times relevant to removal jurisdiction, Plaintiff is and was a
                       14 resident of the State of California. (Exhibit B.)
                       15                b.      Both at the time that this action was commenced and at this time,
                       16 HOME DEPOT was incorporated in Delaware and has its principal place of business in
                       17 Georgia. HOME DEPOT’s corporate offices are located in Atlanta, Georgia, where its
                       18 finance, accounting, purchasing, treasury, marketing, training, human resources,
                       19 information systems, internal audit, and legal departments are located, making policy
                       20 decisions that affect the entire company. “‘[P]rincipal place of business’ refers to the
                       21 place where a corporation’s officers direct, control, and coordinate the corporation's
                       22 activities… i.e., the ‘nerve center.’” (Hertz Corp. v. Friend, 130 S.Ct. 1181, 1184 (U.S.,
                       23 2010).) “For purposes of removal… the citizenship of defendants sued under fictitious
                       24 names shall be disregarded.” (28 U.S.C. §1441(a).) No other Defendant has entered an
                       25 appearance in this case.
 Goodman
  Neuman               26                c.      Removal becomes viable when the defendant is able to intelligently
Hamilton LLP
    One Post St.
      Suite 2100
San Francisco, CA
                       27 ascertain that a claim exceeds $75,000. (Huffman v. Saul Holdings Ltd. Partnership
        94104
Tel.: (415) 705-0400
                       28 (1999) 194 F.3d 1072, 1078.) Here, on information and belief, on July 8, 2022, Plaintiff
                                                                    -2-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1441 AND 1446(b) BASED ON DIVERSITY OF
                                                     CITIZENSHIP UNDER 28 U.S.C. § 1332
                  Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 3 of 51 Page ID #:3



                        1 demanded $750,000 from HOME DEPOT. The demand, all damages, and liability are
                        2 disputed. Nevertheless, it is reasonably ascertainable that the amount in controversy in
                        3 this case exceeds the $75,000.00 threshold specified in 28 U.S.C. § 1332(a).
                        4         7.     Based on the foregoing, the matter is removable pursuant to 28 U.S.C.
                        5 §§ 1332 and 1446(b).
                        6         WHEREFORE, the undersigned requests that the action described above be
                        7 removed in its entirety to this Court for all further proceedings pursuant to 28 U.S.C.
                        8 § 1441, et seq.
                        9                               DEMAND FOR JURY TRIAL
                       10         Defendant demands a jury trial of 12 jurors pursuant to Federal Rules of
                       11 Court, Rule 48.
                       12 DATED: August 8, 2022                      GOODMAN NEUMAN HAMILTON LLP
                       13
                       14                                            By:
                                                                           JOSHUA S. GOODMAN
                       15                                                  ZACHARY S. TOLSON
                                                                           Attorneys for Defendant
                       16                                                  HOME DEPOT U.S.A., INC.
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
 Goodman
  Neuman               26
Hamilton LLP
    One Post St.
      Suite 2100
San Francisco, CA
                       27
        94104
Tel.: (415) 705-0400
                       28
                                                                   -3-
                            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1441 AND 1446(b) BASED ON DIVERSITY OF
                                                    CITIZENSHIP UNDER 28 U.S.C. § 1332
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 4 of 51 Page ID #:4




                        EXHIBIT A
                    Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 5 of 51 Page ID #:5
Electronically FILED by Superior Court of California, County of Los Angeles on 12/29/2021 03:56 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
               ~                                                                           21StCV47408



                                                                                                                                                 FOR COURT USE ONLY
                                                             SUMMONS                                                            I
                                                                                                                                              (SOLO PARA USODELACORTE7

                                                     (CITAC/ON JUDICIAL)
              NOTICE TO DEFENDANT:
              (AVfSO AL DEMANDADO):

               Home Depot U.S.A., Inc. and DOES 1 to 5

               YOU ARE BEING SUED BY PLAINTIFF:
               (LO ESTA DEMANDANDO EL DEMANDANTE):
               Lima Stulting

                                                                                                            your being heard unless you respond vrithin 30 days. Read the information
                   NOTICEI You have been sued. The court may declde against you without
                   below.
                                                                                                          are served on you to file a written response at this court and have a copy
                      You have 30 CALENDAR DAYS after this summons and legal papers
                                            A        or phone   call will not protect  you.   Your   wrltten   response must be in proper legal form if you want the court to hear your
                   served on the plaintiff. letter
                                                                  can  use  for your   response.     You    can  find these court forms and more information at the California Courts
                   case. There may be a court form that you
                                                                                  ), your  county    law   library, or the courthouse nearest you. Ifyou cannot pay the filing fee, ask
                   Online Self-Help Center (www.courtlnfo.ca.gov/se/thelp
                                                                                your  response     on  time,    you  may lose the case by default, and your wages, money, and property
   I               the court clerk for a fee waiver form. If you do not file
       ~           may be taken without further warning from the court.
                                                                                                          right away. If you do not know an attomey, you may want to call an attomey
                      There are other legal requirements. You may want to call an attorney
                                     If you cannot  afford  an attorney,   you may    be  eligible  fcr free   legal services from a nonprofit legal services program. You can locate
                   referral service.
                                             at the California Legal  Services    Web    site (www,1law       helpcal/fom ia.org), the California Courts Online Self-Help Center
                   these nonprofit groups                                                                                     n. NOTE: The court has a statutory lien for waived fees and
                                                              contacting   your  local  court  or  county     bar  associatio
                   (www.courtinfo.ca.gov/se/fhe/p),     or by
                                                                                                                       court's  lien must be paid before the court will dismiss the case.
                                                                     of  $10,000   or more    in a  civil  case.  The
                   costs on any settlement or arbitration award                                                                                                    Lea /a informacibn a
                                                                                                 puede decidir en su contra sin escuchar su versi6n.
                   IAVISOt Lo han demandado. Si no responde dentro de 30 d/as, la corte
                   continuacidn.
                      Tiene 30 D/AS DE CALENDARIO despu6s de que /e entreguen
                                                                                          esta citacibn y papeles lega/es para presentar una respuesta por escrito en esta
                   coite y hacer que se  entregue  una copla  al demandan   te. Una  carta o una Ilamada te/efbnica no lo protegen. Su respuesta por escrito tiene que estar
                                                desea  que procesen   su caso   en /a corte. Es posib/e que haya un formu/ario que usted pueda usar para su respuesta.
                   en formato /egal correcto si
                                                     s de la corte y mds  informaclb   n en el Centro de Ayuda de /as Cortes de Califomia (www.sucorte.ca.gov), en /a
                   Puede encontrarestos formulario
                                                            la corte que le  quede  m8s   cerca. Si no puede pagar la cuota de presentacibn, pida al secretario de /a corte
                   biblioteca de leyes de su condado o en
                                                                               Si no presenta  su  respuesta a tiempo, puede perdere/ caso porincumplimiento y la corte /e
                   que /e dL& un formulario de exenci6n de pago de cuotas.
                   podr8 quitar su sueldo, dinero y bienes sin mas advertencia.                   inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
                     Hay otros requisitos /egales. Es recomendable que Ilame a un abogado
                                                                                            cumpla con los requisitos para obtener servicios /egales gratuitos de un
                    remisi6n a abogados. Si no puede pagar a un abogado, es posib/e que grupos sin rines de lucro en el sitio web de Califomia Lega/ Services,
                              de servicios lega/es sin fines de lucro. Puede encontrar estos
                   programa
                                                                                          Califomia, (wwN.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
                    (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de
                                                              ley, /a corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
                    colegio de abogados loca/es. AV/S0: Por                                                             de arbitraje en un caso de derecho civll. Tiene que
                                                                                     un acuerdo o una concesidn
                    cualquierrecuperaci6n de $10,000 6 m6s de va/orrecibida mediante
                                                                                      rjl caso.
                    pagare/ gravamen de /a corte antes de que la corte pueda desechar
                                                                                                 +                                  ICASE NUMBER:
               The name and address of the court is:                                                                                (Numero deI Caso):
               (EI nombre y direcci6n de /a corte es): Los Angeles Superior Court                                                                2'1 ST'OV47408
                111 N. Hill St., Los Angeles, CA 90012
                                                                        s attorney, or plaintiff without an attorney, is:
                   The name, address, and telephone number of plaintiff
                                                                   del abogado  del demandante, o def demandante que no tiene abogado, es):
                   (EI nombre, la direcci6n y el nGmero d tel8fono
                                                                                    e Blvd. #1250; LA, CA 90012; 213-481-2869
                   Andrew Pongracz, Seki, Nishi~ura & Watase, LLP; 600 Wilshir
                                               Sherri R. Carter Executive Officer! Clerk of Court                       Deputy
                                                                                                ,      Clerk, by
                   DATE: 1 2+'29f202'I                                                                                                       R. ~BC@~                             (Adjunto)
                                                                                                ~      (Secretario)
                   (Fecha)
                                                                                   of S'ummons (form POS-010).)
                   (For proofof service of this summons, use Proof of Service
                                             de  esta citatidn use el formulari o Proof of Service of Summons, (POS-010)).
                   (Para prueba de entrega
                                                           NOTICE TO THE PERSON SERVED: You are served
                                                           1. C]  as an individual defendant.
                                                                  as the person sued under the fic6tious name of (specify)
                                                                                                                           :
                                                           2.


                                                           3. E7-1 on behalf of (specify): Home Depot U.S.A., Inc.
                                                                                  CCP 416.10 (corporation)                (~                  CCP 416.60 (minor)
                                                                under:
                                                                         ~]       CCP 416.20 (defunct corporati on)       ~                   CCP 416.70 (conservatee)
                                                                         ~]       CCP 416.40 (association or partnership) ~                   CCP 416.90 (authorized person)

                                                                        [~     other (specify):
                                                           4. =        by personal delivery on (date):
                                                                                                                                                           Code of Civ11 Procedure §§ 412.20, 485
                    Fonn Adopted for Mandatory Use                                             qU MMONS                                                                      www.couqlnro.oa.gov
                      JudiGal Caundl of Calitornia                                               +
                     SUM-100 (Rev. July 1. 2009)
                      Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 6 of 51 Page ID #:6
Electronically FILED by Superior Court of California, County of Los Angeles on 12/29/20211 03 fi6 P1v1,S~~rri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                .                                                                      2 ST(:V474

                                              Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Audra Mori


                                                                                                                                                                        nl n    ni AAw

                   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and addresa): ~                                                     FORCOURT USE ONLY
                   — Andrew C. Pongracz (SBN 258554)                                          ~
                     Seki, Nishimura & Watase, LLP
                     600 Wilshire Blvd. #1250
                     Los Angeles, CA 90017
                           TELEPHONE NO: (213) e}g 1_2869          FAX NO. (Optlonal): (213) 48 1_2g71
                   E-MAILADDRESS(Opliona/): apongraCz@Snw-laW.conl
                      ATTORNEY FOR (Nama); Plalnt111 Llma StultlnE
                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                           STREETADDRESS:          11I N. Hlll   St.                          i
                           MAILINGADDRESS: 111 N. Hill St.                                    ~
                          CITY AND ZIP CODE: LOs AngeleS, CA 90012
                              BRANCH NAME: Stanle)7 1vIos1C COurtlloUSe
                                PLAINTIFF:



                             DEFENDANT: Home Depot U.S.A., Iric.

                  Q✓      DOES 1 TO

                 COMPLAINT—Personal Injury, Property Damage, Wrongful Death
                     Q     AMENDED (Number):
                 Type (check a/I that apply):
                 Q    MOTOR VEHICLE         Q OTHER (specify):
                     Q     Property Damage    Q  Wrongfui Death
                     Q✓ Personal Injury       Q  Other Damages (spe Ify):
                  Jurisdiction (check aU that apply):                                                                              CASE NUM6ER:
                 Q       ACTION IS A LIMITED CIVIL CASE                      ~
                         Amount demanded Q          does not exceed $10,000
                                              Q     exceeds $10,000, but does not exceed $25,000
                 ~       ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                        2'1 BTCV                  47      40 8
                 Q       ACTION IS RECLASSIFIED by this amended comptaint
                         Q   from limited to uniimited
                         Q   from unlimited to limited
       i       1. Plaintiff (name ornames): Lima Stulting
                     alleges causes of action against defendant (name or names)~
           ;         Home Depot U.S.A., Inc.
               2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
               3. Each plaintiff named above is a competent adult
                  a. Q     except piaintiff (name):
                           (1) Q      a corporation qualified to do business in California
                           (2) Q      an unincorporated entity (describe):
                           (3) 0      a pubiic entity (describe):
                           (4) Q      a minor Q        an adult
                                      (a) Q     for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                      (b) Q     other (specify):
                           (5) Q      other (specify):
                   b. Q          except piaintiff (name):                              '
                                 (1) Q    a corporation quaiified to do business in California
                                 (2) Q    an unincofporated entity (describe):       ~
                                 (3) Q    a pubiic entity (describe):                +
                                 (4) Q    a minor Q        an aduit
                                          (a) Q       for whom a guardian or conservator of the estate or a guardian ad iitem has been appointed
                                          (b) Q       other (specify):
                                 (5) Q    other (specify):

                  0        infonnation about additional piaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                             Page 1 or 3
                Form Approved for Optional Use                         COMPLAINT—Personal Injury, Property                                                Code of CINI Pnxedure, 425.12
                  JudioialCounoilofCatifomia                                                                                                                        w,~,,,.~„nrnro.ca.gev
               PLD-PI-001 (Rev. January 1, 2007]                            Damage, Wrongful Death
      ; ~
  I
                  Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 7 of 51 Page ID #:7



                                                                                                                                              PLD-PI-001
                  SHORT TITLE:                                                                                  cnsE NUMeER:
                  Stulting v Home Depot U.S.A., Inc.                               ~

              4. =        Plaintiff (name):
                          is doing business under the fictitious name (specify):

                      and has complied with the fictitious business name laws.
              5. Each defendant named above is a natural person
                     ✓ except defendant (name): Home Depot USA Inc. c. Q
                 a. [~                                                                         except defendant (name):
                         (1)      a business organization, form unknown                       (1)        a business organization, form unknown
                         (2) ~ ✓ a corporation                                                (2)        a corporation
                         (3)      an unincorporated entity (describe):                        (3)        an unincorporated entity (describe):

                             (4) =          a public entity (descrfbe):                       (4) =      a public enfity (describe):

                             (5) =          other (specify):                       ~          (5) =      other (specify):
                                                                                   ~


                  b. =       except defendant (name):                                  d. 0   except defendant (name):
                             (1) 0    a business organization, form unknown                   (1) 0    a business organization, form unknown
                             (2) 0   a corporation                                            (2) []   a corporation
                             (3)     an unincorporated entity (desc►ibe):                     (3)      an unincorporated entity (describe):

    I                        (4)            a public entity (describe):            ~          (4)       a public entity (describe):

        `                    (5)            other (specify):                                  (5) 0     other (specify):
    I

                  F - 1 Information about additional defendants who are not natural persons is contained in Attachment 5.

             6.     The true names of defendants sued as Does are unknown to plaintiff.
                    a. ~ ✓     Doe defendants (specify Doe numbers): 1,2, 3                         were the agents or employees of other
                               named defendants and acted within the scope of that agency or employment.
                    b. Q✓      Doe defendants (specify Doe numbers): 4,5                                are persons whose capacities are unknown to
                               plaintiff.
             7.    0      Defendants who are joined under Code of Civil Procedure section 382 are (names):




            B.     This court is the proper court because                      ~
                   a.       at least one defendant now resides in its jurisdictiLal area.
                   b. 0     the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
~                  c.       injury to person or damage to personal property occurred in its jurisdictional area.
                   d.       other (specify):




            9.     0    Plaintiff is required to comply with a claims statute, and
                   a.       has complied with applicable claims statutes, or ~
                   b. 0     is excused from complying because (specify):




            PLD-PI-001[Reu.Januaryl,2oo>>                         COMPLAINT—Personal Injury, Property                                            Page2or3
                                                                      Damage, Wrongful Death
           Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 8 of 51 Page ID #:8



                                                                                                                                    PLD-PI-001
         SHORT TITLE:                                                                                    CASE NUMeER:

          Stulting v Home Depot U.S.A., Inc.

        10. The following causes of action are attached and the statements above apply to each (each comptaint must have one or more
            causes of action attached):
            a. r—I Motor Vehicle
            b.       General Negligence
            c.       Intentional Tort                                ~
            d.       Products Liability
            e.       Premises Liability                               ~
            f.       Other (specify):




        11. Plaintiff has suffered
            a. [~✓ wage loss
            b. =       loss of use of property                             d
    ;       c. F71 hospital and medical expenses                           I
            d. F77 general damage
            e. =       property damage
            f. [~✓ loss of earning capacity                         i
            g. =       other damage (specify):




        12. =          The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
            a.            listed in Attachment 12.
            b.            as follows:




        13. The relief sought in this complaint is within the jurisdiction of this court.



        14. Plaintiff prays forjudgment for costs of suit; for such relief as is fair, just, and equitable; and for
            a. (1)        compensatory damages
               (2) 0      punitive damages                               ~
~              The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
               (1)        according to proof
               (2) 0      in the amount of: $

        15. =          The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




        Date: December 29, 2021

        Andrew C. Pongracz
                                       (TYPE OR PRINT NAME)                                        (SIGNATURE OF PLAI 1FF OR

                                                                                                                                        Page 3 of 3
        PLD-PI-001 (Rev. January 1, 2007J                     COMPLAINT—Personal Injury, Property
                                                                   Damage, Wrongful Death
                                                                           1
       Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 9 of 51 Page ID #:9



                                                                                                                                         PLD-PI-001(4)
                                                                             6                                      ER:
     SHORT TITLE:
     Stulting v Home Depot U.S.A., Inc.                                      }
                                                                                                   :    Tft

    First                                        CAUSE OF ACTION—Premises Liability                                             Page           4
               (number)
    ATTACHMENTTO ~x Complaint              C] Cross-Complaint
    (Use a separate cause of action form for each cause of action.)
    Prem.L-1, (name): Lima Stulting
                 alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                  On (date): December 30, 2020                        ~laintiff was injured on the following premises in the following

I                fashion (descriptiori of premises and circumstances of injury):
                 Slip and fall due to hazardous condition of defendant's property




                                                                                                and
    Prem.L-2. Ox Count One—Negligence The defendants who negligently owned, maintained, managed
                 operated the described premises were (names):
                 Home Depot U.S.A., Inc.



                            [~x     Does                      to 3
    Prem.L-3. ~x            Count Two—Willful Failure to Warn [Civil C~de section 846] The defendant owners who willfully
                                                                                                                            were
                            or maliciously failed to guard or warn against dangerous condition, use, structure, or activity
                            (names):
                            Home Depot U.S.A., Inc.




                              x Does 1
                             ~J                                to 3
                             Plaintiff, a recreational user, was      aj   an invited guest    =       a paying guest.

    Prem. L-4. 0             Count Three—Dangerous Condition of Pudlic Property The defendants who owned pubtic property
                             on which a dangerous condition existed were ~names):




                             =   Does                     to
                             a. 0    The defendant public entity had           actual r-1 constructive notice of the existence of the
                                     dangerous condition in sufficient time prior to the injury to have corrected it.
                             b.       The condition was created by employees of the defendant public entity.
    Prem.L-5.a. . Ox Allegations about Other Defendants The defendants who were the agents and employees of the other
                     defendants and acted within the scope of the agency were (names):



                               Ox Does 1                        to 3
                  b. =         The defendants who   are liable to plaintiffs fdr other reasons and the reasons for their liability are
                               ~     described in attachment Prem.L-5.b ~= as follows (names):


                                                                                                                                                    Page 1 of 1
                                                                                                                                   CodeofClvilProcedure,§425.12
       FortnApprovedforOptionalUse
      Judicial Council ol CalHomia PL0.
                                                        CAUSE OFACTION—Premises Liabili~                                                       www.courts.ca.gov

       PI-001(4) (Rev. January 1, 20071
     Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 10 of 51 Page ID #:10



                                                                                                                                PLD-PI-001(:
       SHORT TITLE:                                                                                CASE NUMBER:

       Stulting v Home Depot U.S.A., Inc.
                                                                            k

               Second                                  CAUSE OF ACTION—General Negligence                                 Page               5
~                             (number)

              ATTACHMENT TO 0                     Complaint 0      Cross - Complaint

              (Use a separate cause of actfon form for each cause of action.)

              GN-1. Plaintiff (name): Lima Stulting

                         alleges that defendant (name): Home Depot U.S.A., Inc.



                                       ©   Does    1    '          to   5

                                                                                 the following acts or omissions to act, defendant
                         was the legal (proximate) cause of damagesto~laintiff.~By
                         negligently caused the damage to plaintiff
                         on (date): December 30, 2020
                         at (place): Chino, CA
                         (description of reasons for liability):

                          Plaintiff alleges that Defendant acted negligently in the operation, maintenance, care and control
                          of a retail store, causing Plaintiff damages. Plaintiff alleges that Defendant failed to act as a
                          reasonable person/business would und&, the circumstances. Plaintiff alleges that Defendant was a
                          proximate and legal cause of the damages to Plaintiff, either individually or as respondeat
                          superior for its agents, employees, subsidiaries, etc.




                                                                                                                                           Page 1 of 1
                                                                                                                         Code of Clvll Procedure 425.12
      Fonn Approved for Optlonal Use
       Judictal Coundl of Celilomla
                                                    CA USE OF ACTION—General Negligence
                                                                                    ,
                                                                                                                                  www.couRinfo.ca.gov
    PLD-PI-001(2)[Rev.January 1.2007[
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                                                              FEB 94 Zpyp
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       2
       3                  SLIPERIOR COURT OF TIE STATE OF CALiFORNtA
       4                        FOR TI1E COVNTY OF LOS ANGELBS
       5
         IN RE PERSONAL INJUltY        ~} CASE NO.:
       6 COURT r'PI COURT'l PROCEDURES  }
       7 SPRING STREEI ' COURT HOUSE    ) FIRST AMENDED SfANDlNG ORDER
         (EFFECTIVE FEBRUARY 24. 2020)  ) RE: !'ERSONAL INJURY PROCEDURES
       B                                ) AT THE SPRINCI STREET COURTHOUSE
       9
     ia
      11              ALL EMARiNGS ARE SET IIV T138 DEPARTN>RNT AS
                      RLFLLCTED IIY TRE NOTICE OF CASE ASSIGNMLNT
      12
                      FlltiAL STATiIS CONFERENCE:
     13
                                DATEr                                 AT 1a:00 A.M.
     14
                                                    ~
     15
      16                        DATE:                                  AT 8:30 A.M.
      17
                      OSC RE DISMISSAL
      18              fCM CIV.PRQG. 6 S83.2Y0):
      19                         DATE:                            __ AT 8:30 A.M.
      2a
     21         TO EACH PAR'PY AND TO THB ATTORNEY OF RECORD FOR EACH PARTY:
                                                                                                 of
     22         Pursuaat to the Colifomia Code of Civi1 Ptocedure ("C.C.P:). the Califomia Rules
     23    :flurt ("C.R.C:') and t!u Los Angeles County Court Rulcs ("Local Rules'7, the Los Angelea
     24     upedor Couri ("LASC" or "Court'q HERESY AMENDS AND SUPERSEDES THE
     25   Eq'EMBER 26, 2019 STANDIAtG ORDER AND. GENERALLY ORDERS AS FOLLOWS
                                                                         ("Pr')
     26 1 I THIS AND ALL OTHER GENERAL JURISDICTION PERSONAL 1NJURY
     27 , ,CTIONS FILED IN THE CENTRAL D1STRICT.
      ZB liti                                       ~
                                                   ~
                                                   Puge 1 of 7

                 Flral Amended Swnding Ordsr Re Persanal InJury Procedures, Spring 5tteet Counhause
    Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 12 of 51 Page ID #:12




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                                                                                                   2020-SJ-001-0

                                                                  ~
                                                                                                     out the Civil
           ].     l.       To ensum pNper ttuignmenl to a PI Court, plaintifi(s) must aatefUtly ti11
                                                                                               al injury" as: "an
           a       Case Cover Sheet Addendutn (form LACIV 109). The Court detines'°person
                                                                                          ugn and Statemeot o!'
           3       unlimited eivil case described on the Civi1 Ctue Cover Sheat Addend
                                                                                             e/Wmttgful Dewh;
           4       I.ncation (LAC1V 109) as .Motor Vehicle-Personal Injttry/Ptoperty Dutnag
                                                                                           t; Produd Liability
           5       Personal InJurylPrope:ty Damage/Wroegtltl Death-UnInsured Motoris
                                                                                                     & Surgeons;
              6    (othcr than asbestos or toxic/environmental); Medical Malpraetice-Physicians
                                                                                             Intantional Bodily
              7   Otlter PmFesslunnl Henith Can Mnlpracticc; Promises Llnbility;
                                                                                              DamagelWtongful
              e   Injury/Proprny Damage/Wranggtl Death; or Othcr Petsonal In,jury/Property
                                                                                                      tion, civil
              9   Death. An uctlon for Intentional Infl~ction of emotional distress, defamm
                                                                                                 Included in this
          10      rights/discriminadon, or mdpractia (oth4 thon medicol rnalpmcike), is ttot
                                                                                                     (Gocai Rule
          n       definidon. An acUon for itiJury to teal pmpatty Is not included in this defnitian"
          :.2     2.3($)(1) (A)).
                                                                                                                   If
          23              Consistent with Gocal Rule 2.3(a)(1)(A), the Court will assign a cnse to the PI Courts
                                                                                                        um:
          14      plaintiff(s) cher.lcs any of the following boxes in the Civil Case Cover Sbeet Addend
          15                     D A7100 Motor Vehkie ~lPersonat Injury/Propetty Damuge/Wrongful Death
          i6                     O A7110 Patsonal Injury/Ptopcny DamagellNrongful Death — Uninsuted
          17                          Motot3st

          i®                     O A7260 Ptoduct Liabilily (nol aabestos or toxielenvironmentaU
          19                     O A7210 Medical Mnlpraetice -- PhysIeians & Surgeans
          20                     C] A7240 Medical Malpractica — Othar Professionol Heaith Care MalpraGice
          21                     O A72S0 Pmmises laabiiity (e.g., slip and fall)
          22                     O A7?30 lntentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
          23                          assault, vwtdalisnt etc.)

          24                     0  A7220 Other Personal ~jury/Propetty DatnagelWrongful Death
                                                                                                          eisewhexe
          35             The Coutt will not ossign castm to tha PI Courls if pldntiff(s) checks any boxes
                                                                                           and thrtx of that form).
          26      In the Civi) Case Cover Shect Addendum (any boxes an pages two
                                                                                                    in tht: Notice of
          27             Tbe Court se:s elx above detes In thls action in the PI Court as tzt]ected
                                                                                                  Los Angeles, CA
          26      Case Assignment at ihe Spring Stteet Courthouse► 312 North Spting Street,

                                                              I                                                         ~
                                                              1<'age 2 of 7

                                                                                             Stroet Courihouse
                          FirX Amended Stonding Order Ra Persenal InJury Pmcedures, Spdng
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 13 of 51 Page ID #:13




                                                                                               2o2a-8J-®o2-01



      1 9Q012 (C.R.C. Ruies 3.714(b)(3). 3.729).
      2 FILING OF DOCUMENTS
                                                                                           ys that bave obtaincd
      3 2.          With the acception of self-repn:sented litigants or parties or attorna
       4   an exemption fiflm nmodatory alecwntc 6iliag,         parties must alectronicaUy 61e docnments.
                                                         1.
                                                                                   electroeic Fling are detailed
       s   F'ilings am no longer accepted via facsimile. The eequimments for
                                                                                      forCivil, availa6le online
       6   ln theCoutt'soperative Generai OalerRe Mandatory Blectronic Filing
       7   at www.laaourt ore (link an hotnepaga).
       s SERVICE OF SUMMONS AND COMPLAIIVT
                                                                                          defeadant(s) as
       9 3.     Plaintiff(s) shall serve the summons and complaint in this actlon upon
                                                                               complaint is filed
     lo soan as possible but no lmer than three vM hom the date when tha
                                                                          noted above, the Pl Court wiil
     ].1 (C.CP !; 5g3.Z10. subd. (a)). On the OSC re Dismissal date
                                                                              shows cause why the action
     12 dismiss the action attdlar ati uasarvad panics unless the piNndff(s)
                                                                                   subd. (b)(4)).
     13 or the unserved pwrtles should aot be dismissad (C.C.P. 19 583.250; 581,
                                                                                                 condttlon
     14 4.      The Court sets the above trial and Iinal status confen:nce ("FSC") datcs on the
                                                                             and complaint within six
     15 that plaintifl(s) effeetuate scrvuc on defendant(s) of tM samwns
     1e months of Rling the complaint.
                                                                                                       ure
     17 S.      The PI Couit wlll dismiss tha case withaut pnsjudicc putsuont to Code af Civil Proced
      le § 581 when no party appears for trial.
      19 STIPUGATtON.S TO CONT7NUE TRM~
                                                                                                         (C.C.P.
      20 6.         Pravided that all parties agrde (and thera Is no violation of the "iive-year rula"
                                                                                        Caurts without showing
      21   $ 583.310)), the parties may advance or continue any triW date itt the PI
                                                                                                   e or advance a
      22   good caase or articuluting any reason or justification for the chanae. To conttnu
                                                                                             submit a Stipulation
      23   trial datc, t10 parGes (or their counsel otrocvrd) shouid jointly exsxute aad
                                                                                                    242, available
      24   to ContinueTrlal, i?8C arnl Related Molion/Discovery Dates (form LACN CTRLr
                                                                                           le 1PSCs at IOA® a.m„
      25   on the court's website, Persanal Injury Coai't link). The PS Courts schedu
                                                                                           and FSC dates sha11
      26   eight cautt days before tba trial date. Parties seeking to eontlnue the Mai
                                                                                         seektng ta advance the
      27   f le the stipuladon at least eight coart days befora the FSC date. Patties
                                                                                   before tlte proposed advanced
      28   Uial aad FSC dates shall tile the stlpuiation at least eight court days

                                                         Page 3af 7
                                                                                                Coutthouse
                    Fust Amended Staading Order Re Peraoaal InJury Proeedwes, Spring Stcaat
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 14 of 51 Page ID #:14




                                                                                               Z020-S.T-002-01


                                                                                      ng a new trtal dste,
      i FSC data (C.C.p. g 6952; C3ove. Code 170617, subd. (e)(2)}. In selecti
      2 pnrtles shauld avoid setting on any Monday, or the Tuesday
                                                                      following a court haliday. PaKies

      3 may subrnit a maximum of tw~o stipulatioas to continue
                                                                    triai, ror a total continuanca of six
                                                                       upon o showing of good cause by
      4 rnanths. Subsequent tequests to continue trial witl be granted
                                                                     usly grattted stipulatIon ta continue
      5 noticcd motion. This ntle is n.wactivo sa that any pn:vio
                                                                          tatces.
      s trlai wili count toward the maximum aumbe~oFallowed conttnu
      7 NO CASE MANAGBMEiVT CONFERENCES
                                                                              partie5 need not file n
      B 7.    3'be PI Coutts do not canduct ca5e maaagetnant conferences. The
      9 Cose Manogetnent Statettant.
          IrAw ANiD IVfOTIOIV
                                                                                        booicmorked.
          8.     Any and aU eleelranlcnlfy-#ifed doCcuments mttst be text scamhoble and
          (See operative Deneral Order re Mandatory Electranic Fling
                                                                     in Clvil).

          COURTESY COPIES REQUIREO
                                                                                                 sy
          9.     Pursuant to tha operadve Oeneral Or~ier oe Mandatary 1Eiectronic Filing, caurtc
                                                                                            at the
          copks o[catain documents mu5t be submittj'Fd directly to the PI Court courtrooms
                                                                                        tiling and
        Spring Street Cautllwum 1fie PI Coutts also sttangly encouraga the pardes
                                                                                             to aubmit anc
        opposing lengtby motions, such as motlons for summary judgment/odJudication,
                                                                               Any caurtesy copies of
        or amre threee-ring binders organiiing the courtesy copy behind tabs.
                                                                                          g0(f)). All
        documents with declaratian9 and/or exhibits must be tabbcd (CR.C. Rute 3.11
                                                                    the trtutscripts attttched as exhibit~
     20 dapaeition axcctpts rcferenced in briefa mn~,t be marked on
     21 (C.Ii.0 Rule 3.1116(c)).                     1'

     23 RESERVATION H1rARCNG DATi+
     23 10. PaWes must restnve hearing dates for rnotions
                                                                       In the Pi Courts using the Court
                                                                   gcajirr.orp (link on homepage). After
     24 Reset,►ation System (CRS) avnilable online at Wiy►,(
     25 reserving a motlon headng date, the tvsorvadon ncques
                                                                  tor mwt submit the papess for tiling with

     26 tho rrservation teceipt numbcr printed on the faee
                                                              page of the docutnent under the caption and
                                                                      counsel who are_ unable to utilize the
     77 attaeit the reservation receipt as tlte last page. Patties or
     39 online CRS may trserve a motion' banring date
                                                            by cafling the PI couttraom, Monday thraugh

                                                       ~
                                                       Oage 4 ®f 7
                                                                                          Street Courihouse
                   Frst Amendcxl Standing Order Ite Petsanol InJury Proceduio,s, Spr3nm
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 15 of 51 Page ID #:15




                                                                                              soaa-sa-oaa-oi


      3 Frlday, belween 3:00 p.m. and 4:00 p.m. !
      2 WiTHDRAWAL OF MO'I'iONS
                                                                      moving party to notify tlha court
      3 11. CaUfornia Ru1es of coutt, Itu1e 3.13Q4(b) tcquircx a
                                                                    date. In keeping with that cule, the
      4 imnxdiately If a matter will not be heard on the scheduled
                                                                Piocedm section 472(a) with regard to
      S PI Cflurts require prtrtles to comply with Code of CivU
                                                                   to strike so that the PI Coutts do not
      6 the amending of pleadings telaied to demuners or tnotlons
      7 ncedlessly prepone tentative rulings for thrse matters.
      s DI.SCOVERY MOT10NS
                                                                     (°'IDC") is to assist the pnrties to
      9 12. The purpose of an Informal Discovery Conference
                                                                               l onaach aide, or another
     to r+esolvaandlor nanaw thascope ofdiscovery~lsputes. Lcad trial counse
                                                                              in person, The PI Judges
     1i attomey with full authority to mnko binding agreements, must attcnd
                                                                                   es with' the assistancc
     lz have found that. in naarly every case, the pntties amlcably nsolve dispttt
     23 of the t,ouR
                                                                                  el Further Responses to
     14 13. Parties ME„t pardclpate In an IDC berora a Modon to Comp
     25 Dlscovary wUl be heard untess the                y submlts evidence, by way of declemtioa, that
     is the opposing party has failed or refuse d tongricipate ia an IDC, Scheduling ar particlpating in
                                             movi
                                                                               Code of CivU Frocedun: for
     17 an IDC does not automatically extend any deadlines hnposcd by the
                                                                                   pate In an IDC before a
     le noticing and liling discovery rnotions. Ideally, the partles ahould pardci
                                                                              or reduce its scope. Hecause
     19 mouon Is Fiied because the IDC may avoid thc necessity ofa madon                                     I
                                                                            the 45 (or 60) day deadli ne For
     20 of that possibUity, auornays are ancouraged to adpulate to extend
                                                                         to ailow tirne to panlcipate ln an
     21 tiling a motion to compel further dlscovery re,sponses in otder
     22 IDC.
                                                                                            may lik the motlon
     23           If pwies do nat stipulata to extend the deadlines, the moving pany
                                                                                     place before the motlon Is
     29    to avoid It being deemed untinaely. Howrvar, the IDC must take
                                                                                  motion hearing ihat Is at leau
     25    heard so it is wggested that the rnoving party► reserve a date for the
                                                                               ns to Compel Fucther Dlscovery
      26   60 days atler the data when the IDC reservatlon Is made. Motio
                                                                                the moving party may advencc
      27   Responses are heard at Ia04 a.m. If the IDC Is not ptoductive,
                                                                                  on any available hearing date
      20   the heartttg on a Motloo to Compel Further Discovery Responses

                                                        ~ge5of7
                                                                                         Straet Courthouse
                    Forst Anznded 9tanding Order Re Pecsonnl ]njury Prasedures, Spring
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 16 of 51 Page ID #:16




                                                                                             2o2o-s.T-


                                                                         Civil Procedure.
      1  that complies with the eotice rtquirements of the Code of
                                                                     s using CRS, whieh is availnble online at
      Z 14. Parttes must nwoerve IDC dates in the PI Coun
      3 yyww3wou_g.org (link on homcpage). Pariie mustm
                                                         s         cet and confar n3gneding tha avallabla dates

      4 ln CRS pdar to accesshig the system.
                                                     ARe n:scrving the IDC date, the reservation requestor
                                                         4
      s musst tile aad sarve an ltnfonnel Dlscovery Panfe
                                                                rranee Form for Personal Nury Courts (form

      6 LACIY 239) at ieast 15 eourt days prior to th
                                                          è conference and attach the CR3 reservalion rtcelpt

      7 ~ as tba last paga. The opposing party may
                                                       61e and serve a sesponsive TDC fonn, brleAy setting
                                                                       to thc IDC.
          foith that patty's response, at iensf ten court deys prior
      61                                                          be available to participate in IDCs to try to
      S~ 15. TimE penmitting, the PI Hub judges may
     ].0   msolve otlteer types of discovery d'uputes.
     11 EX PARTL APPLICATIONS                        i
                                                        courts may only 6mt ex parle telief upon a
     12 16. Under the Caiifornia Rules of Court,
                                                                  party wUl suQer "Irreparabk hurm;"
     13 showing, by admisslbin evidence, that the moving
                                                                 Ffes "a statutory basis for gaating relief
     14 "Irnmediate dangei;" or whene tha moving party identi
                                                            s liave no eapacity to heor multipla ex parte
     15 ex parte" (C.R.C. Rule 3.1202(c)). Tbe PI Coutt
                                                                  fully booked motion calendars. The PI
     16 appllcations or to shortcn tlmc to add hearings to thelr
                                                               timely motion hearings as an "Immediate
     17 Courts do not regard tbie Court's unavallability for
                                                                       reliaf. Instead of seeking ex parte
     lti danger" or thraat of "irnparable herm" juStlWng a parte
     19 relief, the moving pany shouid Rserve the earlie
                                                           st avallable molion hearing date (evcn if lt ls

     20 aner the scheduled triai date) and gle a mo~on
                                                         to continue trial. Panles should also check

     21 CR5 fYam tIme to tlme becausc aarlicr hearin
                                                        g dates tnay beeome available as cases settle or

     22 twnrings tve taken off calendar.
                                                                                  DEPARTMEN'r
     23              FOR TRAN9FER TO INDEPENDENT C"EN®AR
                                                          a PI Court to an Indepcndent Calendar ("iC°')
     24 17. Puties seeking to trausfer a casc €tam
                                                             positionlStipuladon to Transfer Compiicated
     25 Court 6hall Cle and serve the Coutt's'°Mo oalOp
     26 Personal Injury Case to Independent Colen
                                                    darGourt" (form LACIV Z38, avatlnble on the Court's
                                                    Courts wili tatutsfer a matter to an IC Courl it'the wse
      27 website under the PI Couns link). Titie Pi
                                                ed in this 4rder, or if it is "complicated." In detetmining
     ZB is not a"Personal Injury" case as defin

                                                         Pnge 6 of 7
                                                                                  Spring Suaet Courthouse
                    First Amended Standing Order Re Pcrsunol Tnjury Prooedutes,
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                                                                                            1020-$d-0o2-Oi


                                                                                       ar. among other things,
      1 wbether a personal injury case is"compiicated" the PI Courts will consid
      x the number oP pretrial hearings or the cotnplexity of issues presented.
                                                                                                  ition (using
      3 18.      Partics opposing a motion to trans£er have five court days to GIe an Oppos
      4 the 9atne LACtv Z!B Motion to rransfer fomt).

      s 19. Tbe PI Courts will notconduct a hearing on o+ty Motion toTtun
                                                                                    sfer to ICCourt. Although

      6 16e p,ertles may stiptilata to transfer acnse to an indepe
                                                                    ndent Cnlendar Dapartment, the PI Courts

      7 wUl ntaka an independent detetmination whethe
                                                             r to transfer lba case or not,

      8 FINAL STATOS CONFERENCL
                                                                                                      ag Otder
      9 20.      Parties shall comply wiih the tequitements of the Pd Courts' aperative Stnndi
                                                                                         eomplaint.
     10 Re Finnl Status Confetancc, wltich sbatl be served witb the sutnmons and
     11 xURY FELS
                                                                                  IIling or the initlal
     12 21. Parttes must pay jury fecs no Inter tluut 365 calendar days after t6e
     13 compWnt (C. C. P. f 631, subd. (c)(2)).
           JURY T1lIALS
                                                                                                       t tlte
           22.    'I7te PI Courts do not conduct jury t>~nls, Os the uial date, u Pl Court will contec
                                                                                                   One
           Master Colendar Court, Depatttnent One, in the Staalcy lulosk Cvunhottse. Deptuunent
                                                                                             ted Ctimtnal
           will nssign cases tor ttial to dedicated Civil Trial Courtrootns and deslgna
           Couttroomss.

                                                                                               l
      20 1123.    The Cotut ltos discretion to tmpose sanctions for any violatiott orthis genem order
      21 (C.C,P. $§ 128.7,187 ond L3ov. Code, § 68ti1)8. subd. (b)).
      22
      23
      24 nited:
                     r.6F6. A4.j -;-OXv                    A IW4A41-11~~
                                                          SAMAt+PPHA P. JUSNEit
      25                                                  Supervising ludga of Civil Courts
      26
      27
      29

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                                                                                                     use
                   First Anseaded Standing Osder Ite Personal 1dury Procedures, Spring Sueet Counho
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 18 of 51 Page ID #:18




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        S
        3
                                                                         NIA
        7                     SL1I',ERIOR COqRT OF TAE S'TATE OF CALIFOR
                                                                      L DISTRICT
        a                  FDR THE COUN'!'Y OF LOS ANGELE9 — CENTRA
        9
        00                                                       THDtD AIt9ENDED STANDING ORDER
           IN RE PERSONAL INJURY CASES RY                       ) RE FiTIAL STATUS CONF6RENC
                                       INJU
        t1 ASSIMED TO TH>b PP.RSONALEEi'                                                     GY?LlRT~
                   AT THE SPKi N~i STR                         3 PERSONAL [NJURY~"PP')
           COURT9                                                (Effective Jenuary 13, OZO)
        12 CaURTHOUSE                                          )
        ta
                                                                           C") having baen set ia thb mmuar,
        14       Tlae d:tes for Tria1 and the Final Stntus Confeience ("FS
                                                        S[1PER3EDES ITS Avgust 9, 2019 5"rANDING
        15 thc COURT HEREBY AMENDS AND
                                                                  SONAL INJURY ('°Pr') COURTS AND,
        ye ORDER RE: FINAL STATUS CONB~RENCE, PER
                                                         S IN TMS AND ALL OTHER GENERAL
        t7 GBNERALLY ORDERS AS FOLLOVV
                                                               S:
        ie JURISDICTION PERSONAL INJURY ACTION
        19
        0        1.  PURBOSE OF THE F3C
                                                                                     ttn eompletely ready to ptoceed
        21           The purpo.se of the FSC is to vedfy that the pertiesrcounsel
                                                                 to day, untll verdtct. The PI Coorts wlll vedfy at the
        22 1 with trlal continuausly and afficleatly, fmm day
                                                                                                        t bindes and +
        1,7kz FSC thnt a11 partiesrcounsei
                                           bave (l) prepared the Eahibit bindecs and Trial Docurr+ctt
                                                                                                                  the
        24 mel and confetYed ia an etfart to siipu
                                                     late to ultimate facls, legal issues, mottons in (imine, snd

        25    authenticatIon and admisslbllity of exhlb~ts.
        zs 1!r
        27       ru
            go   w
                                                              Pag®1 ot 6

                                                      lqoalhie Jaruery 13, 2020)
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 19 of 51 Page ID #:19




        t    Z.      TRIAL DOCUHIE= TO IfE FII,LD
                                                                                 erance, the patticslcounsel sha11 sery
        z            At least ₹lve calendar days prior to Ihc F'inal Status Conf
        9    and tila tha fallowing'f'rial Readint;Ss Docuntents:
        4            A.       TRIAL RRiM (OPTtO1WAL)
                                                                                         succinceiy ideatifyingr
        s            Each patty/counsel may, but Is no~- tcquised to, iile a trial br>cf
        a                     (1) the claims and defcase~ snbjeet to litigation;
                                                                                             ritiesX
        7                     (2) tha major legai issues (with supporting paints artd antho
        a                     (3) the telietclaimad and colculstion of daanages sougitt; and
        a                     (4) any other infotmation that may assist tha coutt at trial.
        ia           B.       biOT10NS IN LINDNE
                                                                                        ly with tha statutory noticc
        tt           Refore tiling modons In limine, tite panieslcounsel shall comp
                                                                               and titc tt:quimments of Los Angdles
        12   pmvhians of Code of Civ}I Proa:dute ("C~.C.P.") Saotion 1005
                                                                               h motion In limine shall coneisaly
        13   County Court Rula (°'LAea! Rule1 3.97(a). The captien oPeac
                                                                               Parties filing morc than ono motion in
        14   idoatlfy tlu; avidancc that thc moving pntty sscics to prcxlude.
                                                                                   and reply papas shail Identify tha
        15   limitia shall aumbertitem coasccudvaly. Parties 6ling opposltlon
        te   cortespandiog motion number in the capdon of thcir popers.
        17            C     JOINT STATEiMEI•i'f TO SE READ TO THB JURY
                                                                                        ce and file a joint wciucn
        te         For jury u3als, thc partieslcounsel shali work togetficr to pt+epo
                                                                            l Ru1c 3.25(g)(4)).
        1n stotetnaat of the casa for the court to read ta the jury (Loco
        20         D.       JOIN"P WITNFSS L*
                                                                                    a joint list of all wimesses ibat
        21         Tha Rarties/caututel shail work together ta prtpara and Rfe
                                                                       rebuttal witnrases (Local Rute 3.?.S(g)(S)}.
        22 each party Intends to eaU, excluding impeachmcnt and
                                                                          , spcclfy whiah wltnesses are experts,
        23 The,joint witness list shall identify aach witnass by name
                                                                        ra-diraet atumination (if aay) of epch, and
        g4 agirrn:te tito length of tha ditm, ctoss examination aad
                                                                     tesUmony. The partiaslcounsel shall idsndfy all
        2s ineluda a total of the number of hours for ai1 wimess
                                                                    rements. Any panylcounsel who ssxics toelictt
        za patential wltness schcduling lssta and special requi
                                                             witness list must first make a showing of good causo tc
        27 testimony f;otn a witness not ldeatiFted an the
        2® the trtW coutl.
                                                ,              Pe9e Z al S

                                                        (ElloGtive J&nwry 13, M20}
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 20 of 51 Page ID #:20




        tll          E.       LIST OF PROPOSED JtjRY INSTkiUCTION5
        a                     (WOINT AND CONTESTED)
                                                                                   peoposed jury lnstmctlons, orgnnias
        3             'Che parties/aounsel sJudl joinlly prtpam and file a iist of
                                                                    which all sides egtte and tha contcsted
        4     In numerical onler, speeifying tha h>sttucttoos upon
                                                                     aions nwst include a space by each instcuclIon
        s     instroetions, if any. The Ust of Praposed Jury I'nstn
                                                                    given.
        s     for tlm judge to indicate whether the lnstnictlon was
        i              F.      JURY INSTItUCT10N9 I
        ®                    (JOINT AND CONTEMD)
                                                                                   ext propaicd jury Inswctions, edltin
        g             The pattieshounsei shall prepare a complete set of full-t
                                                                         t purty name(s) and eliminate blanics,
        io    all proposed California Civil Jury insttuetions and lnser
                                                                              pmpuro special inswctians in o fornmt
        t1    bsnckets, and irnlevant material. The partles/counsel Shnll
                                                                                thle, and text only (iae., them slsnuld be
        12    rcedy for submibslan to tlte jury with tha lnsttuction number.
                                                                        itself as to the requesting porty).
        ts    no boxes or other tndic3lion on the printed instmction
                      G.      JOINT VERDICT FOItM(S)                               '
        14
                                                                                     sed general veniist fonn orspecial
        is            The parties/counsel shall prepare ~nd jolntly Gk a propo
                                                                                 al Rule 9.?S(g)(8)). If the
        te    verdict fotm (with lnterrogatodes) accepPt'eble to all sides (Loc
                                                                            party nmust separately file a proposed
        17     padies/camsel cannot agrce on a joint vcRikt farm, each
        te verdict farm.
        19            H.  JOINT EXItIBIT LIST
                                                                           it list otganized with columns
        20        The partiesJcounsel shall pRpare and file a joint exhlb
                                                                       ntlary objectians, iC any. to admission of
        21 identifying eech exhlblt and specifying c~Ch patty's evide
        22 each exhibit. 71ae pacties/caunsel shall
                                                    mleet and confer in an effott to nesolve objections to the

        23     admissibility of each exhlbit.

        2s             L      PAi;B AND LINE DESIGNATION FOR
        25                    DEPOSITYON AND FORMiIR T,BSTiMO1VY
                                                                            ony or fortner trial testimony in ileu of
        2s            If du partieslcourtsei Intend to use dsposition lesdm
                                                                       meet and confer and jointly prepara and Cde a
        27     any wttness's Iive testimony, lhe portieslcounsel shalt
                                                                     page and tioa designetions of the deposition or
        2s     chan wilh columns for euoh of the following: 1) the
                                                                 PaQe9 ot n


                                                                  JvM►ery 13, 2M)
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 21 of 51 Page ID #:21




                                                                          er-designations, 4) any responses thcreto,
        1 fformer testimony requested for use, 2) obje-ctions. 3) count
        s and r̀7 the Cflurt's suling.                  I
         3 3.      EVJDLN'P1ARY EKAIBITS
                                                                              to lotnpmully lodge ror inspection at
         4        11m partiestcounsel shatl jointly prepare (and be ready
                                                                     document, and properlymarked exhibila,
         6 the FSC) thrce sets of tabbedo Intemally paginated by
                                                                     the Coutt, the Judicutl Assistant and the
         5 orgnaiaed numcricaily in thtee-ring bindag (a set ior
                                                                   ocumentary exhibits attd insen a sitnpla wriuen
         7 wknesses). 'l1x patties/counset shell ma:ic aU noa•d
                                                                  auraerieal tab 1n the eahibit binder. If the patties
         a descdption orthe exhibitbchind the connesponding
                                                                   of their respective exhlbits, then the
         s have ® joint signed exhibit list and electronie copies
                                                                    it binders at tbe PSC. t~owever, the exhibit
        10 pwrtieslcounsel will not be tequired to prqduce exhib
                                                       I judge whan the triai cotnmences. In the absence of
        1t bindets wtli be rcquired by the assigncd tHal
                                                                 s, ezbib)t binders wilf bt: reguired to be pcoduced
        12 alther a joint signed exhibit list or ekctronic copie
        13 by alI patiiaslcounsel at the FSC.
        14 4.      TRiAL 1SINDEItS REQUiRED IlY TS8 PY COURT$
                                                                                         rmrily lodge and include the
        ts         The partieslcounsel shall joiatly prepace (and be neady to lampo
                                                                                 sting orconromned wpies (if
        te following for inspauion at the FSC) the Trial Documents consi
                                                                         with a table oF contents that includes the
        17 availabie), tabbed and organized Into tlut~ring bindcrs
        te    followiag:
        10           Tab A:          TrialBriefs (Optionai)
        zo           Tab S:          Motions in Limine
        ¢1           Tab C:          Joint Statement to Be Read to the Jury
        aa           Tab D.          Joint Witaess i.ist
                                                                                                   and contested
        23           Tab &           Joint List of Jury Inswctions {Identlrying the agreed upon
        24                           lnsttuctions)

        zs            Tab F;         Joint and Coatcs+d dury Instruction.s
        gs            Tab Ci:                          j Verdict Form(s)
                                     JoInt aad/or Conte~sted
        27            Tab H:          Joint F.xhibit I.ist
         xe
                                                                 PAP4osb


                                                         (Etiaalh►a Januery13, 2020)
                                                             1
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 22 of 51 Page ID #:22




                          I
                                                                                                  and
        1 ~           Tab b          ]oint Cbnrt of Page and Ltne Oesignation(s) ror Ikposition
        2                            FarmerTestimony
                                                                                                 operacdve camplaint.
        a             Tab Js           Capies af the Curn+nt Opecative Plcadings (including the
                                                                                                 complaint).
        a                              answar, cross-compiaint, lf any, and answer to any cross•
                                                                                     d in numerical otdar) be6ind Ta1s
        a               Tha patqieslcounsel shall,otganize motians in Umhm (tabbe
                                                                                placed ditectly behind the moving
        8      B wiilti the oppositian papers autd reply pa~ets for each motion
                                                                               baltind Tab F, with the agrctd upon
        7      papem The puatles shali orgattizo proposed jury Instructioas
                                                                            tlons (including spactal lnstYuctions)
        a      Instrudion9 fitse io order followed by thti contested lnstmc
        n submitled by eacit side.
       10 6.     FA1fLURE TO COMPLY WiTIi FSC OBLIGATIONiS
                                                                                   or teNses to comply wlth Ibis
       11       Tbe court ha9 discretton to tequirq any partylcounsel wlm tails
       tz Amended Standing Order to Show Cause9why the Couct
                                                                   should not impose manetary, cvldcndary

       13 mdlor issue sonatlons (includiog the entry of a default
                                                                  or the sriiking of an onswer).

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        ts
        18 ~Dated•      rC►b . ~~"~ l~~                     -J m          L~
                                                             SAMMA P. JESSAR
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Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 23 of 51 Page ID #:23




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                                                                  County of Los Anpeles

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    6                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
    7                       FOR THE COUNTY OF L,OS ANGELES -- CENTRAL DISTRICT
                                                    I
    8

    9       In re Personal Injury Cases Assigned            )   SECOND AMENDED SUPPLEMENTAL
            to ihe Personal Injury Courts at the            )   STANDING ORDER RE COVID
                                                            )   PROTECTIVE MEASURES RELATED TO
   lo       Spring Street Courthouse                          FINAL STATUS CONFERENCES IN
   11
                                                            ) PERSONAL INJURY CASES AT THE
                                                            ) SPRING STREET COURTHOUSE
   12                                                       )
   13               In an effort to reduce the numbdr of in-person appearances in the Personal Injury
   14       ("PI") courtrooms iocated in the Spring Street courthouse and to prevent the transmission of
   15       the COVID-19 virus, the court hereby issues this supplemental order to the Third Amended
   16       Standing Order re: Final Status Confe nce Personal Injury Courts dated February 24, 2020
   17       ("Operative PI FSC Order°).
   18                 1.    ELECTRONIC TRIAL BINDERS
   19            As set forth in the Operative PI FSC Order, parties/counsel must ftle and serve Trial
   20       Readiness Documenis at least five calendar days prior to the FSC. Instead of providing the
   21       court that will be conducting the FSC ~ith the trial binders as described in the Operative PI
   22
        I
            FSC Order and appearing in person, parties/counsel are ordered to provide the trial binders
   23       in electronic form. This will allow partjes and attomeys to appear remotely for the final status
   24       conference and provide the court with the opportunity to review the trial binders to determine
   2s       whether the parties/counsel are ready for trial. Hard copies of the binders prepared in
   2s       accordance with the Operative PI FSC Order will continue to be required for the trial
                                             ,
   27       courtroom.
   2e       ///                                     ~
                                                         Page 1 of 3
                                                     i

                  SECOND AMENDED SUPPLEMENTAL STANDING ORDER RE COVID PROTECTIVE MEASURES RELATED TO
                    FINAL STATUS CONFERENCES 1N PERSONAL INJURY CASES AT THE SPRINCi 9TREET COURTHOUSE
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                  2.     REQUIREMENTS OF ELECTRONIC TRIAL BINDERS
                   At least two court days before the FSC, parties/counsel must submit via email a joint
            electronic trial binder to the courtroom ~anducting the FSC as follows:
                  a.     The parties/counsel must submit in one PDF the joint statement of the case,
                         joint witness list, joint list of jury instructions, full-text joint and contested jury
                         instructions, joint and/or contested verdict form(s), joint exhibit list, and joint
                         deposition designation chart as listed in paragraph 4 of the Qperative PI FSC
                         Order.
                  b.     The trial briefs and motions in limine, oppositions, and replies, if any, must be
                         submitted in a separate PDF.
                  c.     The PDFs must be text s6archabie.
   12             d.     The PDFs must be book arked which is essentially an electronic tab so that
   13             '      the FSC judge can easily find and navigate arnong the trial documents.
   14                    (See httos://hel0x.adobe.com/acrobat/using/paoe-thumbnaiis-bookmarks-
                                                                      i                                '
   15                    cdfs.html and/or https://suuuort.microsoft.com/en-usloff,icel for bookmarking
   1s                    instructions).        i
   17             e.     The PDFs must be email~d to the applicable email address listed below:
   te                    Department 27 at sscdent27FSCOLACourt.org
        I
   19 '                  Department 28 at sscdegt28FSC@LACourt.ora
   20                    Department 29 at sscdept28FSC@LACourt.arg
   21                    Department 30 at sscdeDt30FSC@t-ACourt.ora
   22                    Department 31 at sscdept3lFSC@LACourt.orq
   23                    Department 32 at sscdeDt32FSC@ia4Court.org
   24             f.     The subject line in the eIall must include identifying case inforrnation as
   25                    follows:                    I
   2s                    [Insert Case NumberJ Trial Readiness Binder, FSC, [Insert MM/DD/YE4R of
   27                    Hearing Date] (e.g.19STCV00001 Trial Readiness Binder, FSC 01 /11/2021).
   28
                                                         Page 2 ol 3


              SECOND AMENDED SUPPLEMENTAL STANDiNG ORDER RE COVID PROTECTIVE MEASURES RELATED TO
                FINAL STATUS CONFERENCES IN PERSONAL INJURY CASES AT'rHE 8PRINCi STREET COURTNOUSE
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 25 of 51 Page ID #:25




    1          g.     Each email shouid have two PDFs attached -- one containing the Trial
    2                 Readiness documents and the other containing the trial briefs and motions in
    8                 limine, if applicable.
    4          h.     The parties need not submit the evidentiary exhibit binders at the FSC.
    5                 However, the parties shall prepare the exhibit binders as required In paragraph
    6                 5 of the Operative PI FSC Order and be prepared to represent to the cour# that
    7                 they have been property iprepared. Hard copies of the exhibit binders wili be
    8                 required for trtal.       (
    9          3.    FAILURE TO COMPLY WITH FSC OBLIGATIONS
   ta          The court has discretion to require any party/counsel who fails or refuses to comply
   1l   with this Supplemental Standing Onier to show cause why the Court shouid not impose
   12   monetary, evidentiary and/or issue sanctions (including the entry of a defauit or the striking
   13   of an answer). In addition, faiiure to timeiy and fully comply with this order may result in the
   14   case not being assigned a trial courtroom by Dept.1.
   i5

   16                                                       ~..nc,~....
   17   Dated:
                                                    David J. Cowan
   ia                                               Supervising Judge, Civil
   19                                               Los Angeles Superior Court

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          SECOND AMENDED SUPPLEMENTAL STANDING ORDER RE COVID PROTECTIVE MEASURES RELATED TO
            FINAL STATUS CONFERENCES iN PERSONAl. INJURY CASES AT THE SPRINCi STREET COURTHOUSE
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   3
   4                              SUPERIOR COURT OF THE STATE OF CALiFORNlA

   5                                   FOR THE COUNTY OF LOS ANGELES

   6
          IN RE PERSONAL INJURY CASES  )                       SIXTH AMENDED STANDING ORDER
   7 ASSIGNED TO PERSONAl. INJURY      )                       RE: MANDATORY SBTTLEMENT
          COURTROOMS ATTHE SPRING STREO)                       CONFERENCB
   8      COURTHOUSE                   )                       (Effective June 21, 202 l )
                                                           )
    9                                                      )
                                                           )
   10                                                      )
                                                           )
   II
                                                                                       :
   12     TO EACH PARTY AND TO THE ATI'ORNEY OF RECORD FOR EACH PARTY
                                                                                                the i.os
   13          Pursuunt to Californin Code of Civil Procedure, the Califomia Ru1es of Court and
                                                                            Y AMENDS AND
   14     Angeles Court Rules, the Los Angelcs Superior Coutt (Court) HEREB
                                                                            ORDER, AND THE
   15     SUPERSEDES THE FEBRUARY 24, 2020 FIFTH AMENDED STANDINt's
                                                                                           ORDER:
   16     COURT HEREBY 1SSUES THE FOLLOW~G SIXTH AMENDED STANDYNG
                                                                                                   nce (MSC)
   17         The Courl orders the pariies to panicipate in a virtua) Mandatory Settlement Confere
                                                                                            nce in handling I
   18 supervised by a,judge and stnffed by volunteer attorneys who have signi6cant experie
                                                                        Trial Advocates, the Association of '
   19 these types of cases and nre members of the Americnn Board of
                                                                             tion of Los Angeles. and or the I
   20 Southem Colifornia Defense Counsel, thc Consumer Attomeys Associa
                                                                 ional interest as offcers of the court in its
   ?1 Beverly HiUs Bar Association, and have con~inuing profes.s

   22     successful operntion.
      I                                                                                            un MSC access
   Z3 '              1. Plaintiffs counsel shall within two (2) court days of the Court's Order of
                                                                                                  and register the
   24                the ResolveLawl.A website at www.resolvelawlu.com to create an account
                                                                                                 select a mutually
   25                case for MSC. Plaintifl's counsel must coordinate with defense counsel and
                                                                                                counsoi shall aiso
   26                agreed upon dnte und time for the MSC prior to the trial date. Plaintiffs
                                                                                        counset when registering
   27                provide the name, email address, and pbone number for defonse

   28                the case for an MSC.

                                    STANDING ORDE~ — Sixth Amcnduf Standing Ordcr
                            R MSC 1n Pl Cascs Assig64i tn PI Counroams 41 Spring Strc61 Courthousu
                                    Rc
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                                                                                                            Z021-SJ-008-00


                                                                                         each party with the
               2. A mandatory seulement confereace statement shall be lodged by
                                                                                               days before the
                  ResolvcLawLA websitc and served on all parties not less than li'vc (5) court
                                                                                             five (5) pages on
                  scheduled MSC. The settlement cbnfetsnce statement shall be iimited to
                                                                                            available at 9 a.m.
                  the MSC Brief and tcn (10) pagcs for exhibits. RcsolveLawLA MSCs are
                                                                                                conductcd via
                  and 1:30 p.m. Monday tht+augh Friday, excluding court holiduys, and are
                       Zoom.
                                                                                                           r Court Rule
                   3. Pursuant to Cuiifomia Rules of Court, Rule 3.1380(b) and Los Angeles Superio
                                                                                                                      ng
    7
    8I                3.25(d), trial counscl, the parties and persons with fuli authority to settle the case (includi
                                                                                                          judge has
    ~11                insurance c:ompany representatives) must attend virtually via the website unless a

   10                  excused the virtual appearance for good cause. Once defense counsel is notified that the
                                                                                                                 to
   ll                  matter has been scheduled for a reltote MSC, defense counsel shall create their own login
                                                                                                                   e
   12                  the resolvelawla.com system, andishall list all partics, party rcpresentatives and insuranc
   13                  adjusters' names, phone numbers, and emails where indicated. In the event the MSC needs

   14                  to be canceled, it must be canceled through the RasolvcLawi.A system.
                                                                                                         h notify the
   15              4. If the case settles prior to the scheduled MSC, PlaintifF's counsel shali forthwit
                                                                                                                   nt
   16                 courtroom to which the case is assigned oEsuch settlement. The parties should also docume

   17                 their settlement agreement in u w~ting signed by all pacties. Upon receiving notifcation,
                                                                                                                 a
   18                  the ResolveLawLA system will scnd noti0cations via text and/or emaii and will include

   19                  Zoom link for counsel, the parties. and insurance representatives to join the remote MSC.
                                                                                                     refuses to
   20              5. The Court hag the discretion to require any party and/or counsel who fails or
                                                                                                              s.
   21                 comply with this order, to show cause why the Court should not lmpose monetary sanetion

   22              IT IS SO ORDERfiD.

   23
                                       2A                                              ~              ~
   24     Daied:                L-V
                                                                            Judge David J. Cowan
   25                                                                       Supervising Judge, Civil Division
   26
   27
   28
                                                                       z
                                         S'CANDING ORDfiR—Stxth Amcndcd Swnding Ordisr
                               rc MSC In Re Pi Casas Assigc~ tu PI Cnartroams at Spring Strret Cournhuuse
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                                 VOLUNTARY EFFICIENT LITIGATION STIPULATIQNS

           b~
                                    The Early Organizatlonal Meeting Stipulation, Discovery
                                 ResolutIon Stipulation, and Moltons in Limine Stipulatlon are
       Counly of Ln Anlplts
                                 voluntary stlputations entered into by the partles. The parties
                                 may enter into one, two, or alt three of the sdpulations;
                                 however, they may not aiter the stipulations as written,
                                 because the Coud wants to ensure uniformity of applicatlon,
       aN          u~            These stipulations are meant to encourage cooperation
       utlaauon s.won
       Lm An®llWcounry           between the partles and to assist In resolving issues In a
       ®,► Aa.celatbn L.bo..nd
       Efopl,M.r, L,w seco„      manner that promotes econornic case resolutlon and judicial
                                 efflciency.
                +inuuar.
                                   The following organixatlons endorse the goal of
       ConswmrAflamOys
       AesoeWlon of t,os Anpda   pmmoting effic%ncy fn lltigatlon and ask that counsel
                                 consTder using these stlpulations as a voluntary way to
                                 promote communicaflons and procedures among counsel
           r ~ '                 and wJth the court ta falrJy resolve issues fn their cases.

                                 ♦ Los Angeles County Bar Association Litigation Seotion♦
       soatfwrn caUfomts
       o.hnm Coansd
                                           ♦ Los Angeies County Bar Association
                                               l.abor ~nd Employment Law Section♦

       AssoeWlon of
       sus^vos Tdmi Lnvpro           ♦ Consumer Attomeys Association of Los Angeles♦

                                           ♦ Southern California Defense Counsel♦
       +                 ~
       i 7           ~
                     y
                         ~4               ♦ AssociOon of Business Trial Lawyers♦

                                       ♦ California Employment Lawyers Association♦
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            LASC Approvad 4-11
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     SUPERIOR COURT O!~ CAUFORNIA, COUNTY OF LOS ANGE

    PLAWWR

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                                                                                                ~
               STIPUl.ATiON — EARLY ORGANIZATiONAL MEETING

           Thta attpulatton ls intended to encourage cooperatlon amongtion.  the parttes nt an early atage In
           the IltIgatlon and to assist the pertles In efticient case resolu

           The partles agree that:
                                                                                     or vla teleconference or via
           1. The partles commit to rxlnduct an iniUal conference (in-person              , to disauss and raonslder
              videoconference) wfthJn 15 days fn7m the date this stipulation is signed
              whether fhere csn be agreement on the foaowfrrg:
              a. Are motions to challenge the pleadings necessary?leave       (r the issue aan be resolved by
                 amendment as of rlght, or tf the Court woWd aqow                  to amend, could an amended
                  complalnt resotve most or aA of the Issues a demur   rer might olherw ise ralse? If so, the parttes
                  agree to vvoric through pleadin g lasue? ao that a demur  rer need only   raise tssues they cannot
                                                                                  ble to resolu  tion on demurrer, or
                  resolve. Is the Issue thet the detendant seeks to raise amena voluntary targeted exchange of
                  would some other type of mollon b~ prefer      able?   Could  a
                                                                                              ngs?
                  documents or informatton by any party cure an uncertainty in the pieadi
                 b. iniilal mutual exchanges of documents at the 'core" of ihe  Ategetion. (t=or exampte, ln an
                                                                           flle and  documents relating to the
                    emplayment case, the employment records, Rarsonnel           ral Injury  case, an Incident or
                    conduct ln questlon coutd be consid ered 'core." In a pen3or
                                                                                        is  couid be considered
                    pogce report, medical records, and repale or maintenance recon
                      'core.");

                 c. Exchange of names and contact Inforgttation of wilnesses;
                 d. Any lnsurance agreement that may Ibe availeble to saQsfy enl;    part or all of a Judgment, or to
                    indemnlfy or relmburse for payments   made   to saUefy a judgm
                                                                                to faciNtate understanding, handling,
                 e. Exchange or any other (nformation that might be helpful           or privileges by agreement;
                    or resoluqon of the case In a manner that preserves obJecqons
                                                                                  te egiciency and economy In olher
                 f. t:onWing Issuea of law that, If resolved earty, will promo   be  presented to the Coud;
                    phases of the case. Also, when and how such Issues can
                 g. Whethu or when the case should be scheduled vrlth         a settlement oMcer, what discovery or
                                                                                  settlement dlscusslons meaningful,
                    court ruling an tegal Issues Is reasonably required to make          madletor or other oplfons as
                    and whether Ihe parties wlah to use a sitting judge or a private
          —GOMD(R®v02/13)                                       RLY ORGANIiATIONAL MEETiNG
            t,ascAPFVed artI              STIPULA110N —                                                          Pap 1012
            FarOptla►dUia
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       NwunttL




                                                                                          Package' served vaith the
             discussed In the "Aitemative t?ispute Resoluiion (ADR) lnformatlon
             comptalnt;
                                                                                   or pratected from disclosure, on
          h. Computelton of damages, Induding do~uments, not prlvNeged
             which such computation Is based;
                                                                                  procedures (see tnformatton at
          i. Whether the case is sultable for the Expedited Jury Triaf atlon7.
             www.lacoartona under `CIvIP and ihen        under  `Gener  aJ Inform
                                                                                 cross-camptainl wili be extended
       2.    The Ume for a defending party to respond to a comptaint or                                 for the crass-
             lo                            for the compiaint, and             Pl~SEFiT ol►T~
                       (tN~E OItTE)
                                                                                               ment Code § BBB16(b),
             complelnt, which Is comprlsed of the 30 deys to respond under Oovem       9054(a   ), good cause having
             and the 30 days permitied by Code of Civii Procedure           sectio  n
                                                     Judge   due  to the case  manag     ement    beneQts provided by
              been found by the Ctvg Supervlsing                                     wwwJ     acourt .om under'C1v!!`,
             thts SllpulaBon. A copy of lhe Gener•ai Onier can be found at                   ton SllpWa  Hons'.
              cNck on'Generel lnfamadon', then click on'Vo       luntary  Efgldo  nf UKget
                                                                                      Pumuant to Initiai Conferencs
       3.     The parties wlll prepare a joint report t>tled "Joint 5tatus Report proposed arder summarizing
              and Early Organtrational Meeting Stl ulation, and H desired, a way h may assist the parttes'
              results of lheir meet and confer and 661sing the Court of sny                            Status Report to
              eRictent conduct or resoluUon of the c6e. The parites shall attach the Joint      ents   when   lhe CMC
              the Case Management Conference atatement, end n6e                  Ihe   docum
              statement is due.
                                                                                           If the date for performing
       4.     References to'days' mean calendar days, unless oth$rwJse noted.           Court   hoiiday, then the time
              any act pursuant to this sttpuialton fa11s on a Saturday, Sunda     y  or
              for perfarming that act sha11 be extend  ed  to the next Court  dey

        The fopowing parties stipufate:
        Dale:                                            ~

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                   (TWE iDR PMNT AM )
        Dele:
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                                        E)                                       (ATTORN Y FOR OEFENDANT)
        Dafe:
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                                                                                 -                           T)
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                   (TYAE OR PRINT NAM )                              '            ATT       Y FOR OVENO    W
        Dat®:
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                          OR P INT AM )                  ~                  (AiTORNEY FOR
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                                  T NAME)                                   (VTTORNEY FOR
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                        E OR PRINT NAM                                      (ATi'OR EY FOR


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        LAMv=         °V1S)      STIPULATION — EARLY ORGANIZATIONAL MEET                                          Pega 2 oi2
        1,A8C Appoowd 04111
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                 STIPUI.ATION — DISCOVERY R~SOLUTION                                I                                 I
    I
                                                                            tfon of discovery issues
        This stipulallon is Intended to provide a taat and Inforinal resolutlte
                                              Inform al canfer ence  with       Court to aid In tlre
        through lindted paperwork and an
        resolution of the fasues.
        The parties agrAe that:
                                                                                    shall be tiled or heard unless
        1. Prior lo the discovery cut-off in this act;on, no dlscovery motion  el Dlscov ery Conference pursuant
           the movin® paoty flrst makes a wrllten   re"~que st for an   Infonn
           to tha tenms of this stipulatton.
                                                                                            e presented by partles
        2. At lhe Informal0iscovery Conference the Court wiil consider the disput      forth hereln will pr+edude a
           and determine whether lt can be     resolve d lnform    aliy.  Nothin g set
                                                                                           ery  Conference, elther
           party from making a record at the condusion of an lnformal Discov
           orapy or In writing.

        3. Following a reasonable and good faiih attempl at an informalrance       resoluqon of each Issue to be
           presented, a party tnay request an lnformal Discovery Confe                   pursuant to the following
           procedumsc
                a. The party requesting the informal Dtscovery Conference wiil:
                                                                                           olfice on the
                  1.    Flle a Req,uest for (nformal Discovery Conference wtth the clerk's
                                                                                        med copy to the
                        epproved form (copy attach~d) and deliver   a courte sy, confor
                        asstgned department;         ~
                                                                                             ted; and
                  li.   lnclude a brlef summary of the dlspute and specify the reltef reques
                                                                                           method of service
                        Serve the opposing party pursuanl to any authorized or agreed Inform
                 iA.                                                               st  for       al t}iscovery
                        that ensures lhat the opposi ng party receiv es the Reque
                        Conference no later than the next court day foilowing the flling.
                                                                                        must:
                b. Any Answer to a Request for info rmal Discovery Conference
                  t. Also be tiled on the approved' fonn (copy attached);
                                                                                             denied;
                  ii.   Include a bdef summary of why the requested rellef should be

        ~~        Hoani             STIPULATION — DISCOVERY RESOI.UTION                                    Pop 1013
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       ua+nm~c



                 pi.    Be Med wtthin two (2) court days of receipt of Ihe Requesl; and
                                                                                                 agreed upon
                 lv.    Be served on the opposing ~party pursuent to eny authorized or
                                 of service  that ensur4 s that the  oppostn g party n3ceive s the Answer no
                        method
                        later than the next court day foilowing the titing.
                                                                                         or attachments, will
          c. No other pieadings, Induding but not limlted lo exhibits, dedaratlons,
             be acc.epted.
                                                                                     l Discovery Conference
          d. If the Court has not granted or denled the Request for Informa
             within ten (90) days following the tiling of the Request. then     It shall be deemed to have
                                                       Reques  t,  the  pariles wlll  be notffled whether the
             been denled. If the Court acts on the
                                    Dlscove ry Con*r  ence  has   been   gr'anted  or denled  and,  If granted,
             Request for Infomtal                                                                  twenty '(20)
                                                                                           wlthin
             the date and time of ihs Informal Discovery Conference, whlch must be
             days of the 811ng of the Request for Informal Discov   ery Confer  ence.
                                                                                        the Request for
           e. If the conference (s not held within twenty (20) days of the ttiing of
              Informal Olscovery Conference, unless extended by agreem      ent of  Ihe  parties and the
                                                              ery Confer ence shall be  deeme  d to have
              Court, then the Request for the Informal Discov
              been denled at that tlme.
                                                                                     es above has expired
       4. If (a) the Court hes denled a conference or (b) one of the time deadiln Is concluded without
          without the Court having acted or (c) the  lnforma l Discove ry Confer enoe
                                                                                      unresolved Issues.
          resolving the dispute, then a party may file a discovery motion to address
                                                                                      to compel or other
       S. 7he parties hereby further agree thet the time for making a motion
                                                  d te of filing of the Reque st  for  Infomtal Discovery
          discovery motbn is tolled from Ihe
                                                                                        (20) days aiter the
          Conference unUl (a) the request (s danld or deemed denied or (b) twanty unless extended
          i(ling of the Request for Infonnal Discov®ry Conference, whiche ver is earlier,
          by Onierof the Court.
                                                                                         for each discovery
           It Is dhe understanding and Intent of the parUes that this stipulation shall,       date to which
                                                                                    flc  Iater
           dispute to which it appiles, consUlute a writing memoriallzing a"sped             have  agreed in
                                                                          respon ding party
           the propounding [or demanding or requasting] party end the                      2031.3 20(c), and
                                                             ure section  s 2030.3 00(c),
           wrlUng; within the meaning of Code Civll Proced
           2033.290(c).
                                                                          appropriate relief, Induding
       6. Nothing herein wil) predude any partym applying ex parle for
          an order shortening time for a motlon to heani concem  ing diacove ry.

                                                                        (21) days notice of Intent to
       7. Any party may terminate thls stipulatlon by giving twenty-one
          terrninate the stipulaUon.
                                                                           noted. If the date for performing
        8. References to "days" mean calendar days, unless otherwlse
           any act pursuant to this stipulalion falls on a Saturda y, Sunday  or Court hollday,lhen the Ume
                                                    ed to the next Court day.
           for performing thal act shall be extend



                  ~:d`am            STIPtJLAT1ON — DISCOVERY RE50LUTION                                Page 2of3
                   uw                                 ,
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           wmmu




           The tallowIng parties adpulate:
           Date:                              ~
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           Date:                                    >
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           Date:                                    'r
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           Date:                                     'r
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            ~uq~~~outt             STIPULATION—DISCOYEitYRESOLUTION



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Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 34 of 51 Page ID #:34




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               1. Thla document relates to:
                     ❑      Request for Informal Disaovery Cflnference
                     ❑      Answer to Request for lnformal Dlscovery Conference
               Z. Deadline for Court to deolde on Request:                   Ons.a dWe 10 =tarodw dsy. k&marw O,a of
                  oo n.quaq.
                                                                                                         Ofmat dara so aWxkr
               3. DeadUne for Court to hotd lniormal Dlscovery Conferonce:
                  d1yS kGOft W4 0f [11b R"INs1).               1
                                                                                 describa the nature of the
               4. For a Request tor lnformal Discover"y► Cont®rencQ, brietiv Issue. For an Answer to
                  diacovory disputo, lncluding the facts  and  legel argum  ents at
                                                                                        the Court ahould deny
                  Roquest for Informal Discovary Conteronce, brief]v doscribe why    at iasue.
                  the reaueated dlecovery, Including the taais and legal argum  ents
                                                                                                                           I




                         Uz"~— "       (punusnnt lo the Diaaovory ResofuUon SBpulettan af the partfes)
    Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 35 of 51 Page ID #:35




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                                                                                          I                                I
        I             STIPULATION AN® ORDER— MOTiONS iN LIMINE


                 This stipulation Is intended to provide fast and informal resotu   tion of evidentiary
                                                                                            paperwork.
                 issues through diligent ®fforts to defne and discuss such Issues and limit

                 The partles agree that:
                 1. At least        days before the tlnal status conference, each party wiN provide all other
                                                                                         proposed modon In
                    partaes vvith a list containing a one paragraph explanation of each of         proposed
                    Iimine. Each one paragraph explanatlon must IdentHy the substance a single
                    motion in limine and the gmunds for the pmposed motion.
                                                                                           teleconferenee or
                 2. The parties thensafter will meet and aonFer, either in penaon or via          confer, the
                    videoconference, conceming alI prop~sed molions In timine, in that meet snd
                     partles wUl determine:                     0

                     a. Whether the parties can stipulate to any of the proposed mo8on       s. If the partles so
                        stipulate, they may file a stipulation and proposed onier with the Co'urt.
                                                                                                   by means of a
                     b. VYhether any of the pn~wssed motions can be briefed and submitted sed by a short
                        short joint statement of tssues. For each motion    which  oan  be addres
                                                                                                         wilh the Court
                         Jolnt statement of Issues, a short loint statement of issues rnust be t'iled        short )oint
                                                                     ence.  Each   side's  porqon    of the
'                        90 days prior to the final status confer                                        and   confer to
                                                                       pages.   The  parties  will meet
                         statement of issues may not exceed three
                                                                                                        portlons of the
,                        agree on a date and manner for ~exchanging the parttes' respective
                                                                                                    Joint statement of
                         short Joint statement of issues and the pmr,ess for flling the short
                         issues.
                                                                                      t of a stlputafiion or brlefed vla
                  3. Ali proposed motions in timine that are not either the subJecacconiance wlth the Callfomia
                     a short joint statement of issues wM be brfefed    and  i
                                                                            fl ed in
                     Rules of Court and the LosAngeles Superior Court Rules.




                            ~dan1         STIPULATION AND ORDER— MOTIONS IN LIMINE                             F.ya 1012
                             Us.
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       The faqawlng partles stipulete:
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       Date:                                              :
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                                                                   (ATTORNEY FOR                           ►

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        Date:
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                   MW OR P


        THE COURT 80 ORDERS.

          Dale:                                                              JUDICIAL OFFlCER

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         ~~„b         ov1l         STiPULATION AND ORDER — MOTIONS [N LIMI
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 37 of 51 Page ID #:37




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      7                   SUPERIOR COURT OF~7 STATE OF CALIFORM
      a                        FOR T>~ C®    OF LOS ANGELES
      9
     ~Q  Generat anier Re                               )    ORDER PiJRSUANT TO d:CP i 0Ka),
         Use of Volutrtary Eftident Litigation          )    EXTENDING TIME TO RESPOND SY
      11 Sttputatians                                   )    34 DAYS WHEN PARTIES AGREE
                                                        )    TO EARl.Y ORGANIZATtONAL
      1:                                                )    MEETING STIPULATION
      13                                            ~'

      14         Wheneas the Los Angeles Superior Coutt and tlte Executive Committee of the
      IS                                                                                       In
           Liltgation Sectton of the Los Angetes County ear Asaodation have cooperated
      16
                                                                                               ions for
      17   draffing "Voluntary Eti7cient Lit<gadon Stlpulationg" and In proposing the stlpulat
      18 use ln 9enetal jurisdicHon ciWl iiiigation ln Los Angeles Counfy;
      19          Wherea9 the Las Angetes County F3ar Association f.ftlgatlon Section; tlte Los
      20                                                                                  Consumer
           Angeles County ®ar Asgociation labor and Empioyment l,aw Sectton; ihe
      21
                                                                                             Oafense
           Attomeys AssoclaUon of l.os Angeles;11hp1e Assoclallon of Southern Catifomla
      u
                              tlon of Business Tiial Lawyers of Los Angeles; and the CaUfom          ia
      23 Counsel; the Associa
                                                                                    cy 1n
      2s Employment Lawyars Association aU "endorse the goel of prnmoting egicien
                                                                                   a voluntary way to
      25   lltlgation, and ask that counsei conslder using these stiputstlons as
      26                                                                           the court to fairiy
           promote communicattons and procedurres among counsel and with
      27
           msQlve Issue.s In thelr cases;           ~
      za
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                                      ORD£R PURSUANTTO CCP 105A(ti)
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 38 of 51 Page ID #:38




      =          Wheseas the Earty Organfmtional Meeting Stiputation ts latsnded to encomage
      Z    cooperation among the parttss at an eady stage In TGgation In orderlo adftve
      3    Iidgation etiiciendes;                   ~I

      4           Whereas tt Is intended that use of the Earty Organizattonat Meeting StFpulatian
                                                                              d       1
      s
           wM pronsate eoonomic case n3satulon and judidal efficiency;
      6
      ?           Whetaas, in onier to promot~ a meaningful dbr.ussion 9f pleading lssues at the
      s Earty Organlzat;onal Meettng and potentlalty b reduce the need for rnadons to
      9 chaUenge ithe pleadings, it Is necessary L aQow additional Ume to conduct !he Early
     io
           Oiganhsitlonal Meeting before the time to respond tn a complatnt or ctnss complaint
     tl
           has expin3d;
      u
     13           Whereas Code of Ovil Procedure sectlon 1054(a) allows a judge of the court in
     14 which an actlon is pending to extend for not more than 30 days the Ome to respond to
     1s a pleading'upon good cause ahown';
                  Now, therefore, this Gourt hereby finds that there is good cr.~use to extend for 30 ~
     16

      17
           deys the tlme to respond to a complalnt~or to a cross comptatnt in any actieon in which
     1e
     1s the parties have entered into the Eariy Organlzational Meating Sbpulation. Thts ttnding
     30 of good cause is based on the antictpated judlciai etficlency and benetits of ewnomic
     21 case resotutlon that the Eariy Organizatlonal Meeting SOpulation Is Intended to
     22
           promote.
     n
     24           IT IS HEREBY ORDERED that, t~ any case in which the partm have entered
                                                                                  g party to
     zs into an Eady Organlzational Meetinp Stipulation, the tirne for a defendin
     26 respond to a aomptaint or cmss complalnt shall be extended by
                                                                          the 30 days pennitted
      27

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                                     ORDER. PURSUANT TO CCP 1054(a)
Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 39 of 51 Page ID #:39




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           by Code of C'nnl Pr+ccedwe sedion i D54(a) willmut furtller nesd of a specfic court

      2    oNer.
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                      A/
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           f DATED:
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      s                                             Carolya B. KuhfSupmvhfwS.Iudge ofthe
                                                    Civil Dep®r~ltents. Im AslgeIes Supaior Caurt
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                                     ORDBR PURSUANT TO CCP 1054(a)
    Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 40 of 51 Page ID #:40




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                              Superior Court of California, County of Los Angetes


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         What Is AOR4                                               I+
         ADR helps  people flnd solutlo ns to their legal disput es withou t eoing to trial. The maln types of ADR are negotlation,
                                                                                 done by phone, videocontetence or computer, it may
         madiatlon, arbitration, and settlement conferances. When ADR Is
                                                                               ltdgatlan and tdat are described betow.
         be called Gnllne Dlspute ltesolutlon (ODR). Thase altemattves to

           vanbars of ADR
         At~,
             •     Saves Timr: ADR is faster than going to ttlal.
                                                                           fees, and wltness fees.
             •     Saves Money: Partles can save on court costs,lattomey's
                                                                                      s and provider forvoiuntary ADR.
             •      Keeps eontrol (wlth the partles): Parties chaose thelr ADR proces
                                                                                     oom, In private offices, by phone or onllne.
             •      Reduus Stress/Ptateets Prtvuy: ADR Is done outslde the courtr

         oisadvantaRes of AnR
                                                                            have to pay for ADR, littgatlon, and Mal.
             • Costs: If the parties do not nesolve thely dlspute, they may
                                                                               n by a Judge or Jury.
             • No PubRc Tdals ADR does not provlde a publle trial or a declslo

         Maln Tvog ofADR
                                                                           , or by phona or onfine about resotving thelr case with a
             1. Negotlatlon: Parties often talk wlth each other In person
                                                                                    n, they wlll nqotiate for their clients.
                settlement agreement tnstead of a trial. If the parties have lawye
                                                                         each person's concems, helps them evaluate the
             2. Medlatlon: In mediatlon, a neutral mediator ilstens to
                strengths and weaknesses of their case, and works    with them to try to create a settlement agreement that Is
                                                                                    may go to trlal tf they deetde not to settle.
                aaeptable to alL Mediators do not dedde thr outcomeo Parties

                            Medlation ntay be approprlata when~the parties
                                                                                            l person.
                              • wat>t to work out a solutlon but need help firam a neutra
                                                                                   ns that Interfe re with resolutkm.
                              • have communlcatton problems or strong emotlo
                            MedWon mayng bs approprlate when the       partlas
                                                                                             outcome.
                              • want a public trial and want a judge or jury to dectde the
                                                             or have a hhtory   of physic al/emo  tional abuse.
                              • ladc equa! bargaining power



                 tASC W 271 Rev 04/21                             ~                                                      Page 1 of Z
                 fora+andaton uu
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                                              How to Arrange Medlatlon In !os AngetesCounty
                                                                                         mediator theywistt, Opttons includeo
                   Mediatlon for cev8 eases Is voknrtary and parties may select any

                       a. TheGtitli Medlatkn VendorRewuroells4
                                                                                      may contactthese or8anizations
                          IFaI! partks in an acth►e dv8 case agree. o mediatlon, they
                          to request a'Resoutce llst Mediatton"    or medfati on atredu eed eost or no oost ((or selected
                            03m).

                                     ADR 5erviaes, Ine.Case Manager Eli;abethSrnchez, ef>sabethEoad
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                                     (949) 8fi3•980®
                                o 1MAS, Iqc Assistant ManagerReggieJoseph, RloseohBtam
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                                                                                      medlat ionLA.ora
                                • MedlatlonCenterofO.osAngelesProgramManagerinfotl3
                                     (833) 47Fr9145
                                                              ~
                                                                                         tsfses at their discretion.'1My may
                   These araanfrattons cannot aecept every cas~ and they may dedine
                                                                                     8efore   contact(ng these organirndons,
                   offer andne medlatton by video confercnce for cases they accept
                   nevkw lmportarttinformatlon and FAQs at www.tacourt.o nr/At)R .Res.Li st

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                   NOM The®vl MedlatimVendorResourcaUat pntpamdoesno
                   ala4ns eases.

                        b. LosAngelesCountyDlsputeResolutionPrograms
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                            Doyof trialmediation programs have been paused until further notfce
                                                                                                           r (evlcdon) rases
                            OnBrte Otspute ResolutTort (ODIi). Partles in small daims and uniawful detaine        (ODR)
                                                                and  otherin  format bn they may receive about
                            should carefuUy revlewthe Nodce
                            requirements for thNr case.               ~

                                                                                     rnay                 be found on the intemet.
                        c. Mediators andADRand Rararganisatfonsthatprovlde mediatlon
                                                                                                       present evidence and
                    3.Arbitratian: Arbltra4ton is less formal thitt trial, but qke trial, the parties
                                                                                                      lan, the arbitratoes
                    arBuments to the person who deddes the outcome. In "binding" arbltrat
                                                                                                     any  partycan request a
                    decision is final; there is no right to trial. In "nonbinding' arbitration,
                                                                                    about   arbltrat ton,v[s lt
                    trialafterthearbltratorsdedslon. For more lnfonnation
    '               htta://wwwcourts.ca.aov(g~•e.dr,r~n
                                                                                         d by the eourt and are oken hdd dose
                    4.MandetorySettlementConferences(MSC~~MSCs are ordere
                                                                                                   lth a judge or settlement
~                   to tha trfaidate or on tha day of tdal.7he par#tes and their attomeys meetw          ting the strengths and
                                                                   Instead  asdsts the partles in evalua
                    offlcer who does not make a decfsion but who                              about the Court's MSC
                    weaimasses of the case and In negotiating n settlement. For information
                                                                                       l/C100 47.asax
                    programsforcivl! eases,visit htta://www.lacourt.orA/dfvlslonldvl
                                                                                          /division/dvIUC10109.asnx
                    Los14ngeles5uperior Court ADR website: htto://www.laco,rt.ore
                                                                                     ourts.ca.aov/oroaram~-adr.htm
                    For Seneral (nformatlon and vldeos about ADR, vislt bjtp:(Lwww.c

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              LASC CIV 271Rev. 04/22                                                                                           Pege 2 of 2
              Aor NW,datmy Uu
              Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 42 of 51 Page ID #:42
Electronically FILED by Superior Court of Califomia, County of Los Angeles on 12/29/20211 NW49rri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk



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                  ~w~                 a~acz (9~258~54~
                     SIIQ. NISHIMURA 8t WATASfi. LLP                                   ,
                     600 W'ilslure Blvd. Suite 1250
                     I.os AnReles, CA 90017
                         ,»mwor+eroo. ( 213) 481,2869                          FAxKo: (213) 481-2871
                 ATra::,E,rFOK           : Plaintiff Lima Stultin
                at,PER1oR oouar oF cAl.tFORI+u1, coulnlr oF Lfls Angeles
                       SIRMTADDIUM& 111 N. Hill St.                                         ~
                       wjuwAoorn:.ss: 111 N. Hill St.
                      cm aro ap caoE Los Ange-les CA 90012
                          ~, t~ Stanley Mos1 Courthottse
                  CASE NME-
                    Stulting v Home Depot U.S.A. Inc. et al.
                       CML CASE COVER SHEET                                                                                 ohm"LAN19t
                                                                                  Comphuc Cme Deslgnatlon
                ~         unllmited           0     umlted                                              21 ~T                                    CV 4 7 40 $
                          (Amount         (Amount               0      Counisr       ~    Jolnder
                          demanded        demanded Is           Flled with fl appearance by defendant 'UDO~
                          exoseds $25,000)$26,000 or less)          (Cal. Rul# of Court, nile 3.402)   DEPr-
                                              Rems 1-6 befowmust be completed see lnsOructfons on PM 2.
                1. Chedc one box below for the case type that best describes thls aase:
                      Auto Tort                                             Contnet                                  Provlsionally Complex CIvU LtUyatlon
                      ~     Auto (22)                                       ED Breach of aontrsd/warranty (06)       (Cal. Rules of CouR, rulss 3.400-3.403)
                      0     Uninsured motorist (46)                              Rule 3.740 coliectbns (09)          0      AntlftwVTrade regulatbn (03)
                      Other PUPDIVYD (Psnonat InjurylPropsrty                     Other cdlectlons (09)                    ConshvaUon defed (10)
                      Dama8elWronpful Dsath) Tort                           Q     Insuranae coverage (18)                  Mass tort (40)
                      ~   Asbestos (04)                                     Q     Other contract (37)                      Sewrities IiUg.tion (28)
                      0   Produd liabllily (24)                             Real Praperty                                  EnvlronmentaUTozla tort (30)
                      Q   Medical malpradloe (45)                           Q     Eminent domalMnvenm                      Insurance coverage dalms ariainp from the
                      ~✓      Other PI/PDMID (23)                                 condemnation (14)                        above listed proviaionally complex case
                      Non4'UPDMID (Othsr) Tort                                    Wrongful eviction (33)                   tYPes (41)
                      0       Business tortlunfair twsineaa prec[ice (07)         Other mal property (26)            Enforament of Judpmsnt
                      0       Civll righta (08)                             Unlawful Detalner                        =     Enforeement of Judgment (20)
                      F - 1 Defamatlon (18)                                      Commer l (31)                       Mlsesllansow Civll Complsint
                      ~     Fraud (16)                                      ~    Residen (32)                        Q    RICO (27)
                                                                                         ;
                              Irttelledual pmperty (19)                     0    Dnugs (~)                           []    OUrer aomplalM (nof specfied above) (42)
                      0    Professional neglipenoe (25)                     Judldal Revlew
                                                                                                                     Mkatlanwus Clvil Petltion
                      ~    Other non-PI/PD/WD tort (35)                          Asset forFeiture (05)               Q   Partnen,hi and
                      Em loymsr~t                                           ~    PeUUon re: arbitration award (11)                  p     CO~ O~ ~~           nce (21)
                                                                                                                     Q   Other petition (not spec~f'ied ebove) (43)
                      ~    Wrongful terminatlon (36)                        Q    Writ of mandate (02)
                      Q    Other employment (15)                                 Other udicial mview 39                      I
                2. This case U               Is   LZ-J is not     cwmplex under rule 3.400 of the Califomia Rules of Court. tf ttte case is oomplex, mark the
                      factors requiring excepBonal judidal management:
    !                 a. =       Large number of separ•ately represented parties                d.    Large number of witnesses
                      b.=        Extensive moUon pracUce ralsing difficult or novel q e.     Cooniination with related actlons pending In one or more coutts
                                 issues that will be Ume-consuming to resohre
                                                                                         ~1, in other counUes, states, or countries, or In a federal oourt
                      c. []      Substantiai amount of daumentary evidence            f. LJ SubstanUai postjudgment judldal supervlsion
                3. Remedies sought (check all fhat apply): a.© monetary                     b. =     nonmonetary; dedaratory or injundlve rellef              C. =      punlWe
                4. Number of causes of actlon (speciry): 2: Premises Liability, General Negligence
                S. This case 0       is   © is not a dass acUon suit
                6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015)
                Date: December 29, 2021
                Andrew C. Ponexacz

                  • Plaintfff must file this oover sheet wlth the first paper filed in the ad9on or proceeding (except smali dalms cases or cases
                      under the Probate Code, Family Code, or Welfare and Institufions Code). (Cal. Rules of Court, tule 3.220.)                  filed
                                                                                                                                 Faliure to flle may result
                    In sandions.
                  • Fle this aover sheet in addiUon to any cover sheet required y local oourt rule.
                  • If this case is complex under nile 3.400 et seq. of the Califorla Rules of Court, you must setve a copy of this cover
                                                                                                                                           sheet on all
                    other parUes to the adion or proceeding.
                  • Unless this is a collectlons case under rule 3.740 or a complix case, this cover sheet will be used for
                                                                                                                            staUstical purpases on .
                                                                                                                                                        + or:
                FmmMoptedtorMend~LoryUs~                           CMLCASECOVERSHEET                               c~~~~n~zso,a~a•3.+oo..s.~+.3.>'40
                  Judkial Camd d GOfomla                                                                                     '                                                       ;
                                                                                                                                        Cal. SLudrds of Judldal AMinktrMfon. ~td. 3.10
                  CM-0101Rev. Juy 1, 2007J
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             Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 43 of 51 Page ID #:43


                                                                                                                                                CM-010
'                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                                                 (for example, a complaint) in a civil case, you must
            To Plaintiffs and Others Filing First Papers. if you are filing a first paper
                                                                           Cover  Sheet  contained  on page 1. This information will be used to compile
            complete and file, along with your first paper, the Civil Case
                       about the types and numbers    of cases  filed. You must complete   items 1 through 6 on the sheet. In item 1, you must check
            statistics
                                                                                             a general and a more specific type of case listed in item 1,
            one box for the case type that best describes the case. If the case fits both
                                                                            of  action, check  the box that best indicates the primary cause of action.
            check the more specific one. If the case has multiple causes
                                                                                     under each case type in item 1 are provided below. A cover
    i       To assist you in completing the sheet, examples of the cases that belong              paper filed in a civil case may subject a party,
                                                                                        ver sheet with the first
            sheet must be filed only with your initial paper. Failure to file a c(o
                counsel,  or both to sanctions under   rules 2.30  and   3.220   of thr Califomia Rules of Court.
            its
                                                                                      case"  under rule 3,740 is defined as an action for recovery of money
            To Parties in Rule 3.740 Collections Cases. A"collections
                                     to be certain that is not more   than  $25,000,    exclusive   of interest and attorney's fees, arising from a transaction in
            owed in a sum stated
                                                                    on  credit.   A collection s case     does not include an action seeking the following: (1) tort
            which property, services, or money was acquired
                                                                                              recovery       of personal property, or (5) a prejudgment writ of
            damages, (2) punitive damages, (3) recovery of real property, (4)
                                                  a  case  as  a rule  3.740   collection s case   on    this   form means that it will be exempt from the general
            attachment. The identification of
                                                                          rules,   unless a  defendan      t files  a responsive pleading. A rule 3.740 collections
            time-for-service requirements and case management
                                                                                                      in rule 3.740.
            case will be subject to the requirements for service and obtaining a judgment
                                        Cases.    In  complex   cases   only,  parties  must   also   use    the Civil Case Cover Sheet to designate whether the
            To Parties in Complex
                                                                  is complex     under  rule 3.400    cf   the   California Rules of Court, this must be indicated by
            case is complex. If a plaintiff believes the case
                                                                                                   a  case     as  complex, the cover sheet must be served with the
             completing the appropriate boxes in items 1 and 2. If a plaintiff designates
                                                        A  defendan   t may   file  and  serve   no  later    than   the time of its first appearance a joinder in the
             complaint on all parties to the action,                                                                      has made no designation, a designation that
                                                                               is not  complex,   or,  if the   plaintiff
             plaintiffs designation, a counter-designation that the case
             the case is complex.                                          CASE TYPES AND EXAMPLES
                                                                 Contract                                             Provlslonally Complex Civil Litigation (Cal.
            Auto Tort                                                                                                 Rules of Court Rules 3.400-3.403)
                Auto (22)—Personal Injury/Property                  Breach of ContractlWarranty (06)
                                                                        Breach of I~ental/Lease                            Antitrustlfrade Regulation (03)
                     Damage/Wrongful Death                                                                                 Construction Defect (10)
                                                                             Contra, t (not unlawful detainer
                Uninsured Motorist (46) (fPthe                                  or rongfu/ eviction)                       Claims Involving Mass Tort (40)
                      case involves an uninsured                        Contract/Warranty Breach—Seller                    Securities Litigation (28)
                      motodst claim subject to                               Plaintiff (not fraud ornegligence)            EnvironmentaUToxic Tort (30)
                      arbitration, check this item                      Negligent Breach of ContracU                       Insurance Coverage Claims
                      instead of Auto)                                       Warranty                                          (arising from provisionally complex
            Other PIIPD/WD (Personai Injury/                            Other Breach of ContractlWarranty                       case type listed above) (41)
            Property Damage/Ultrongful Death)                       Collections (e.g., money owed, open                Enforcement of Judgment
            Tort                                                        book accounts) (09)                                Enforcement of Judgment (20)
                 Asbestos (04)                                          Collection Case—Seller Plaintiff                       Abstract of Judgment (Out of
                      Asbestos Property Damage                                                                                      County)
                                                                        Other Promissory Note/Collections
                      Asbestos Personal Injury/                               Case                                              Confession of Judgment (non-
                            Wrongful Death                          Insurance Cov rage (not provisionally                            domestic relations)
                 Product Liability (not asbestos or                      comp/ex) (J8)                                          Sister State Judgment
        ;             toxic%nvironmental) (24)                           Auto Subrogation                                       Administrative Agency Award
                 Medical Malpractice (45)                                Other Coverage                                            (not unpaid taxes)
                      Medical Malpractice—                                                                                      Petition/Certification of Entry of
                            Physicians 8 Surgeons                   Other Contract (37)                                            Judgment on Unpaid Taxes
                       Other Professional Health Care                    Contractual Fraud                                      Other Enforcement of Judgment
                            Malpractice                                  Other Contract Dispute                                      Case
                                                                 Real Property               i
                 Other PI/PD/1/VD (23)                                                                                  Miscellaneous Civil Complaint
                                                                    Eminent Domain/Inverse
                       Premises Liability (e.g., slip                                                                      RICO (27)
                                                                         Condemnation (14)
                             and fall)                                                                                     Other Complaint (not speciried
                       Intentional Bodily Injury/PDN11D              Wrongful Eviction (33)                                     above) (42)
                             (e.g., assauit, vandalism)              Other Real Property (e.g., quiet tifle) (26)               Declaratory Relief Only
                       Intentional Infliction of                         Writ of Possession of Real Property                    Injunctive Relief Only (non-
                             Emotional Distress                          Mortgage Foreclosure                                         harassment)
                       Negligent Infliction of                           Quiet Title                                             Mechanics Lien
                             Emotional Distress                          Other Real Property (noteminent                        Other Commercial Complaint
                       Other PI/PDMlD                                    domain, landlordRenant, or                                  Case (non-tort/non-complex)
                                                                         forec/osure)                                            Other Civil Complaint
             Non-PIIPD/WD (Other) Tort
                                                                 Unlawfui Detalner                                                  (non-tort/non-complex)
                 Business TorUUnfair Business
                                                                     Commercial 1)                                       Miscellaneous Civil Petition
                     Practice (07)
                 Civil Rights (e.g., discrimination,                 Residential (3 )                                       Partnership and Corporate
                       false arrest) (notclvil                       Drugs (38) (if i~e case involves illegal                    Governance (21)
                        harassment) (08)                                  drugs, check this item; othenvise,                Other Petition (not specified
                  Defamation (e.g., slander, libel)                       report as Commercia/ or Residential)                   above) (43)
                         (13)                                    Judicial Revlew                                                 Civil Harassment
                  Fraud (16)                                         Asset Forfeiture (05)                                       Workplace Violence
                  Intellectual Property (19)                         Petition Re: Arbitration Award (11)                         Elder/Dependent Adult
                  Professional Negligence (25)                       Writ of Mandate (02)                                             Abuse
                       Legal Malpractice                                  Writ—Administrative Mandamus                            Election Contest
                       Other Professional Matpractice                     Writ—Mandamus on Limited Court                          Petition for Name Change
                           (not medica/ orlegal)                              Case Matter                                         Petition for Relief From Late
                                                                          Writ—Other Limited Court Case                                Claim
                   Other Non-PI/PDMID Tort (35)
             Employment                                                       Revie                                               Other Civil Petition
                  Wrongful Termination (36)                           Other Judicial~2eview (39)
                  Other Employment (15)                                    Review of,Health Officer Order
                                                                           Notice of Appeal—Labor
                                                                             Commissioner Appeals                                                                 Page 2 of 2
             CM•0101Rev. July t, 20071                                CIVIL CASE COVER SHEET
        Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 44 of 51 Page ID #:44


                                                                                     ,i
     SHORTTITLE:                                                                                                 CA8ENUMBER
                Stulting v Home DepOt U.S.A., InC. et al.


                                 CIVIL CASE COVER SHEET ADDENDUM AND
                                         STATEMENT OF LOCATION
                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                  This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




         Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                         Column A that corresponds to the case type i; dicated in the Civil Case Cover Sheet.


         Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


         Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                         chosen.

                                             Applicable Reasons for Choosing Court Filing Location (Column C)
i
    1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.            7. Location where petitioner resides.
                                                                             q
    2. Permissive filing in cenlral district.                                I                 8. Location wherein defendantfrespondentfunctions wholly.

    3. Location where cause of action arose.                                                   9. Location where one or more of the parties reside.

    4. Mandatory personal injury filing in North District.                                    10. Locatlon of Labor Commissioner Office.
                                                                                              li. Mandatory filing location (Hub Cases — uniawful detainer, limited
    5. Location where performance required or defendant resides.                              non-collection, limited collection, or personal injury).
    6. Location of property or permanently garaged vehicle.



                                    ~ .             ;        '                                          y~   ~           -                                   ~   - ~h.~+
                    5•
                                                                                                    `

                          Civil Case Covor Sheet,                                                    f
                                                                                                    KAction
                                                                                              Type oYM                                            Applicable Reasons.~
                             i Category No                                                   (Check only ope)                          ,           See Step 3 AboVe r
                                              -i                                                       ...J                                           ~.

                                 Auto (22)              ❑        A7100 Motor Vehicle - Personal Injury/Property DamagelWrongful Death             1, 4, 11


                          Uninsured Motorist (46)       ❑        A7110 Personal Inju /Property DamageNVrongful Death — Uninsured Motorist         1, 4, 11


                                                        ❑        A6070 Asbestos Property Damage                                                   1, 11
                               Asbestos (04)
                                                        ❑        A7221 Asbestos- Personai InjuryNVrongful Death                                   1, 11
            t~
        c 0                Product Liability (24)       ❑        A7260 Product Liability (not asbestos or toxic/environmental)                    1, 4, 11
       a iu
                                                                                                                                                  1, 4, 11
       Zo                                               ❑        A7210 Medical Malpractice- Physicians & Surgeons
       c ~                Medical Malpractice (45)                                                                                                1 4 11
                                                        ❑        A7240 Other Professional Health Care Malpractice
       ~ ~
       Ta o
                                                                                      I
                                                        !Z A7250 Premises Liability (e.g., slip and fall)                                         1, 4, 11
                              Other Personal
                              Injury Property           ❑                                   1 ry/ProPertY Dama9eNVron9ful Death (e.9•.
                                                                 A7230 Intentional BodilY In'u                                                    1, 4, 11
                                                                       assault, vandalism, etc.)
                             Damage Wrongful                                                                                                      1, 4, 11
                                Death (23)              ❑        A7270 Intentional InflicGon of Emofional Diatress
                                                                                                                                                  1, 4, 11
                                                        ❑        A7220 Other Personal Injury/Property DamageM/rongful Death




       LACIV 109 (Rev 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
       LASC Approved 03-04                                 AND STATEMENT OF LOCATION                                                             Page 1 of4
 Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 45 of 51 Page ID #:45



~HORTTITLE:                                                                                       CASENUMBER
              Stultlrt9 v HofTte Depot U.S.A., Illc. 2t aI.


                          ~                                                                                                                   G App?icable
                  Clvil Case Cqver Sheet                                          Type of Acbon `i-                 ,                  Reasons -.SeB Step 3
                      CategaryNo~~                    ,j s.,      :            ~~~,(Chechonlyorie)~`     ~           ~     ~~ ~ ~~           Abov e
                                k ,


                    Business Tort (07)         ❑   A6029 Other CommdfciaVBusiness ToR (not fraud/breach of contract)                   1, 2, 3


                     Civil Rights (08)         ❑   A6005 Civil Rights/Discrimination                                                   1, 2, 3


                     Defamation (13)           ❑   A6010 Defamation (siander/libel)                                                    1, 2, 3


                        Fraud (16)             ❑   A6013 Fraud (no contract)                                                           1, 2, 3


                                               ❑   A6017 Legal Malpractice                                                             1, 2, 3
               Professional Negligence (25)
                                               ❑   A6050 Other Profess onal Malpractice (not medical or legal)                         1, 2, 3


                        Other (35)             ❑   A6025 Other Non-Personal Injury/Property Damage tort                                1, 2, 3


                Wrongful Termination (36)      ❑   A6037 Wrongful Termination                                                          1, 2, 3
    c
    a~
   ~                                           ❑   A6024 Other Employment Complaint Case                                               1, 2, 3
   0
   c             Other Empioyment (15)
                                               ❑   A6109 LaborCommissfonerAppeals                                                      10
   w
                                               ❑   A6004 Breach of RentaULease Contract (not unlawful detainer or wrongful             2.5
                                                         eviction)
               Breach of Contract/ Warranty                                                                                            2' S
                           (06)                ❑   A6008 ContracWVarranty Breach -Seller Plaintiff (no fraud/negligence)
                     (not insurance)           ❑   A6019 Negligent Breach of ContractNVarranty (no fraud)                              1' 2' S
                                                                                                                                       1' 2' 5
                                               ❑   A6028 Other Breach of ContractMlarranty (not fraud or negligence)

                                               ❑   A6002 Collections C~se-Seller Plaintiff                                             5, 6, 11
                     Collections (09)
                                               ❑   A6012 Other Promissory Note/Collections Case                                        6,11
                                               ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                    5, 6, 11
                                                         Purchased on or a8er January 1 2014

                 Insurance Coverage (18)       ❑   A6015 Insurance Coverage (not complex)                                              1, 2, 5, 8


                                               ❑   A6009 Contractual Fraud                                                             1, 2, 3, 5

                   Other Contract (37)         ❑   A6031 Tortious Interference                                                         1, 2, 3, 5

                                               ❑   A6027 Other Contracl Dispute(not breachlinsurance/fraud/negligence)                 1, 2, 3, 8, 9

                 Eminent Domain/lnverse        ❑   A7300 Eminent Domain/Condemnation                   Number of parcels               2.6
                   Condemnation (14)
   Fi
                  Wrongful Eviction (33)       ❑   A6023 Wrongful Eviction Case                                                        2,6


                                               ❑   A6018 Mortgage Foreclosure                                                          2,6

                 Other Real Property (26)      ❑   A6032 Quiet Title                                                                   2,6

                                               ❑   A6060 Other Real Property (not eminent domain, landlord/tenant, foreciosure)        2,6

              Unlawful Detainer-Commercial     ❑   A6021 Unlawful Detainer-Commercial (not drugs orwrongful eviction)                  6,11
                          (31)

               Unlawful Detainer-Residential   ❑   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                6,11
                            32
                   Unlawful Detainer-          ❑   A6020FUnlawful Det+er-Post-Foreclosure                                              2, 6, 11
                  Post-Foreclosure 34
               Unlawful Detainer-Drugs (38)    ❑   A6022 Unlawful Deta ner-Drugs                                                       2, 6, 11



LACIV 109 (Rev2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                            Page 2 of 4
  Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 46 of 51 Page ID #:46



                                                                                                          CASE NUMBER
;HORT TITLE:
               Stulting v Home Depot U.S.A., Inc. et al.                                                                      I

                                                                                                                                           ltcabls
               :      Civil Ga$~r~over Sheet                                 ;              Type of Actwn                          Reasons See Step 3.
                                                                                           (Chack AP , pne)             i                     bbove
                            Category rda

                                                     ❑       A6108 Asset Forfeiture Case                                           2, 3, 6
                       Asset Forfeiture (05)
                                                                                 i

                                                             A6115 Petition to Corfipel/Confirm/VacateArbitration                  2,5
                     Petition re Arbitration (11)    ❑
    3
    d
   .~
    w                                                        A6151 Writ - Administrative Mandamus                                  2,8
                                                     ❑
    ~
   w                                                 ❑       A6152 Writ - Mandamus on Limited Court Case Matter                    2
   .~                  Writ of Mandate (02)
   ~a
    ~                                                ❑       A6153 Writ- Other Limited Court Case Review                           2
    ~
                                                     ❑       A6150 Other Writ /Judicial Review                                     2,8
                     Other Judicial Review (39)

                                                             A6003 Antitrust/Trade Regulation                                      1, 2, 8
                   Antitrust/Trade Regulation (03)   ❑

                                                             A6007 Construction Defect                                             1, 2, 3
                      Construction Defect (10)       ❑

                     Claims Involving Mass Tort              A6006 Ciaims Involving Mass Tort                                      1, 2, 8
                                                     ❑
                                (40)

                                                             A6035 Securities Liti jation Case                                     1, 2, 8
                      Securities Litlgation (28)     ❑

                             Toxic Tort                      A6036 Toxic Tort/Environmental                                        1, 2, 3, 8
                                                     ❑
                         Environmental (30)

       O            Insurance Coverage Claims        ❑       A6014 Insurance Coverage/Subrogation (complex case oniy)              1, 2, 5, 8
     a                from Complex Case (41)

                                                             A6141 Sister State Judgment                                           2, 5, 11
                                                     ❑
                                                             A6160 Abstract of Judgment                                            2,6
                                                     ❑
                                                             A6107 Confession of Judgment (non-domestic relations)                 2,9
                            Enforcement              ❑
                          of Judgment (20)           ❑       A6140 AdministrativI Agency Award (not unpaid taxes)                  2,8
                                                                                                                                    2,13
                                                     ❑       A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                             A6112 Other Enforcement of Judgment Case                              2, 8, 9
                                                     ❑

                                                             A6033 Racketeering (RICO) Case                                         1, 2, 8
                              RICO (27)              ❑

                                                             A6030 Declaratory Relief Oniy                                          1, 2, 8
                                                     ❑
                                                             A6040 Injunctive Relief Oniy (not domestie/harassment)                 2,8
                         Other Complaints            ❑
                                                                                                                                    1, 2, 8
                     (Not Specified Above) (42)          ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)
                                                                                                                                    1, 2, 8
   ~~                                                    ❑   A6000 Other Civil Complaint (non-torUnon-complex)

                       Partnership Corporation           ❑    A6113 Partnership and Corporate Govemance Case                        2.8
                          Governance (21)
                                                                                                                                    2, 3, 9
                                                         ❑    A6121 Civil Harrass4ent
                                                              A6123 Workplace Hirassment                                            2, 3, 9
                                                         ❑
                                                         ❑    A6124 Elder/Dependent Adult Abuse Case                                2, 3, 9
                         Other Petitians (Not                                                                                       2
                        Specified Above) (43)            ❑    A6190 Election Contest

   2       U                                             ❑    A6110 Petition for Change of Name/Change of Gender                    2, 7
                                                         ❑    A6170 Petition for Relief from Late Claim Law                         2 3 8

                                                         ❑    A6100 Other Civil Petition                                            2.9



                                                                                  I


  tACIV 109 (Rev 2/16)                               CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3

  LASC Approved 03-04                                   AND STATEMENT OF LOCATION                                                   Page 3 of 4
   Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 47 of 51 Page ID #:47



 SHORT TITLE:                                                                         CASE NUMBER
                Stulting v Home Depot U.S.A., Inc. et al.


Step 4: Statement of Reason and Address: Check the appropriatel,boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address whioh is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                   ADDRESS:
   REASON:                                                        Home Depot Store
    ®1. ❑ 2. ❑ 3.[d4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10.1011.



   CITY:                                   STATE:    ZIP CODE:

   Los Angeles                             CA        90001


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                       District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].


                                                                                                        1-3

  Dated: December 29, 2021
                                                                                  (SIGNATURE OF ATTORNEY/FILING




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
                                                                                    ~.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                   CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
  LASC Approved 03-04                       AND STATEMENT OF LOCATION                                                   Page 4 of 4
    Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 48 of 51 Page ID #:48


                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSEADDRESS:                                                                                        FILED
 Spring Street Courthouse                                                                       Superiar Gnurt of ca1ifarnia
                                                                                                  Diauntyof LosAngalss
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                        12/29/2021
                   NOTICE OF CASE ASSIGNMEN~'                                            Rlew-ri R. C:t ~, Exwx~•.'c {}ffW / cler't od Caml
                                                                                           3y               R. P®T®z            L2,pitiy
                          UNLIMITED CIVIL CASE                 ►+


  Your case is assigned for all purposes to the judicial officer indicated below.   21 STCV47408

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT     ROOM                     ASSIGNED JUDGE                      DEPT         ROOM
         Audra Mori                        31




                                                               ~
    Given to the Plaintiff/Cross-Complainant/Attomey of Record +    Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/30/2021                                                          By R. Perez                                          Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 49 of 51 Page ID #:49

                                       INSTRUCTIONS FOR HA&DLING UNLIMITED CIVIL CASES
                                                                    I
    The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
    for your assistance.                                                                                   ,

    APPLICATION
    The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

;   PRIORITY OVER OTHER RULES
    The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

    CHALLENGE TO ASSIGNED JUDGE                                        ~
    A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
    to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

    TIME STANDARDS
    Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

    COMPLAINTS
    All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

    CROSS-COMPLAINTS
    Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
    complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

    STATUS CONFERENCE
    A status conference will be scheduled by the assigned IndepeAdent Calendar Judge no later than 270 days after the filing of the
    complaint. Counsel must be fully prepared to discuss the follo~jving issues: altemative dispute resolution, bifurcation, settlement,
    trial date, and expert witnesses.

    FINAL STATUS CONFERENCE
    The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
    parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
    form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
    matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
    lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
    by Chapter Three of the Los Angeles Superior Court Rules.        i
    SANCTIONS
    The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
    Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
    or if appropriate, on counsel for a party.

    This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
    therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
    compliance with the actual Chapter Rules is imperative.

    Class Actions
    Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
    judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
    Calendar Courtroom for all purposes.

    *Provisionallv Comulex Cases                                   P
    Cases filed as provisionally complex are initially assigned to ~the Supervising Judge of complex litigation for determination of
    complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
    randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
    returned to an Independent Calendar Courtroom for all purposes.




    LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
    LASC Approved 05/06
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                         EXHIBIT B
           Case 2:22-cv-05601-JFW-AGR Document 1 Filed 08/08/22 Page 51 of 51 Page ID #:51




          LIMAN. STULTING




                                                                                                  Please detach and return top portion with payment
|   | Check if your billing information has changed. Provide update(s) above or on reverse side
